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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

STEVE BLAKENEY                )
                              )
      Plaintiff,              )
                              )
vs.                           )                      No.: 4:19-cv-02017
                              )
CITY OF PINE LAWN,            )
SYLVESTER CALDWELL,           )
BRIAN KRUEGER,                )
DONNELL SMITH,                )
WILLIE EPPS,                  )
CLARENCE HARMON,              )
LASHAWN COLQUITT,             )
ANTHONY GRAY,                 )
PAUL RINCK,                   )
JOHN STRUCKHOFF,              )
MISSOURI PUBLIC ENTITY RISK   )
MANAGEMENT FUND (MOPERM), and )
SMITH & ASSOCIATES, LLC,      )
                              )
      Defendants.             )

                                            PETITION

                                 I.      Jurisdiction and Venue

       1.      This Court has jurisdiction pursuant to 28 U.S.C. §§1331 and 1343 over Plaintiff’s

cause of actions under 42 U.S.C. §§1981 and 1983 due to violations of the Constitution of the

United States, including the First and Fourteenth Amendments, U.S. Const. Amend. I and XIV,

and 5 U.S.C. §552 a(b). The Court has supplemental jurisdiction over Plaintiff’s causes of action

under Missouri law pursuant to 28 U.S.C. §1367.

       2.      This Court has personal jurisdiction over Defendants, who are located within, or

residents of, the Eastern District of Missouri.




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       3.      The Defendants are subject to personal jurisdiction within the Eastern District of

Missouri and the events that give rise to this action occurred within the Eastern District of Missouri

and, pursuant to 28 U.S.C. §1391, the Eastern District of Missouri is the proper venue.

                                           II.     Parties

       4.      Plaintiff, Steven Blakeney (hereinafter referred to as “Blakeney”), is a U.S. Citizen

and a resident within the U.S. District Court for the Eastern District of Missouri.

       5.      Defendant, City of Pine lawn, is a municipality and public entity located within the

U.S. District Court for the Eastern District of Missouri. The City of Pine Lawn is Blakeney’s

former employer.

       6.      Defendant, Sylvester Caldwell, (hereinafter referred to as “Caldwell”) is a U.S.

Citizen and a resident within the U.S. District Court for the Eastern District of Missouri. Caldwell

was the mayor of the City of Pine Lawn during part of Blakeney’s employment with the City of

Pine Lawn. Caldwell is sued in his official capacity as Mayor of the City of Pine Lawn, and in his

individual unofficial capacity.

       7.      Defendant, Brian Krueger (hereinafter referred to as “Krueger”), is a U.S. Citizen

and a resident within the U.S. District Court for the Eastern District of Missouri. Krueger was an

employee with the City of Pine Lawn during the time period that Blakeney worked for the City of

Pine Lawn. Krueger’s job title was City Administrator. Krueger is sued in his official capacity of

City Administrator for the City of Pine Lawn, and in his individual unofficial capacity.

       8.      Defendant, Donnell Smith, (hereinafter referred to as “Smith”) is a U.S. Citizen and

a resident within the U.S. District Court for the Eastern District of Missouri. Smith was the City

Attorney for the City of Pine Lawn during part of Blakeney’s employment with the City of Pine




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Lawn. Smith is sued in his official capacity as City Attorney for the City of Pine Lawn and in his

individual unofficial capacity.

       9.      Defendant Willie Epps (Hereafter “Epps”) is a U.S. citizen and a resident within

the U.S. District Court for the Eastern District of Missouri. Epps is sued in his official capacity as

a City of Pine Lawn police officer and in his individual unofficial capacity

       10.     Defendant Clarence Harmon (Hereafter “Harmon”) is a U.S. citizen and a resident

within the U.S. District Court for the Eastern District of Missouri. Harmon is sued in his official

capacity as a City of Pine Lawn police officer and in his individual unofficial capacity

       11.     Defendant Lashawn Colquitt (hereafter Colquitt) is a U.S. Citizen and a resident

within the U.S. District Court for the Eastern District of Missouri. Colquitt is sued in her official

capacity as assistant Pine Lawn City Administrator and in her individual unofficial capacity

       12.     Defendant Anthony Gray (hereafter “Gray”) is a U.S. Citizen and a resident within

the U.S. District Court for the Eastern District of Missouri. Gray is sued in his official capacities

as Public Safety Director, and City Prosecutor for the City of Pine Lawn and in his individual

unofficial capacity.

       13.     Defendant Paul Rinck (hereafter “Rinck”) is a U.S. citizen and a resident within the

U.S. District Court for the Eastern District of Missouri. Rinck is sued in his official capacity as a

City of Pine Lawn police officer and in his individual unofficial capacity

       14.     Defendant John Struckhoff (hereafter “Struckhoff”) is a U.S. citizen and a resident

within the U.S. District Court for the Eastern District of Missouri. Struckhoff is sued in his official

capacity as a City of Pine Lawn police officer and in his individual unofficial capacity.

       15.     Defendant Missouri Public Entity Risk Management Fund (hereinafter referred to

as “MOPERM”) is a statutorily-created risk management fund offering coverage to public entities



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in Missouri. At all times relevant herein, MOPERM provided liability coverage to the City of Pine

Lawn. MOPERM is headquartered in Jefferson City, Missouri and has numerous contracted

agencies which reside within the U.S. District Court for the Eastern District of Missouri.

                              III.   Facts Common to All Counts

A.      Plaintiff’s Employment with Pine Lawn.

        16.    Blakeney became a certified law enforcement officer by the State of Missouri in

2010.

        17.    Blakeney was hired in April 2010 as a probationary policeman by the City of Pine

Lawn (“Pine Lawn”), a municipality, upon completion of a full background check, performed by

the Chief of Police, Ricky Collins, and after receipt of Blakeney’s background file from the

Missouri Department of Public Safety. The City Prosecutor who eventually also held the title of

Pine Lawn Director of Public Safety (“Director”), Anthony Gray (“Gray”) was one of the Pine

Lawn officials that interviewed Blakeney for the Pine Lawn police department job and he

discussed Blakeney’s entire background with Blakeney.

        18.    During his tenure with the City of Pine Lawn, Blakeney was an exemplary police

officer who was rapidly promoted and routinely awarded for his exceptional service, to wit:

               a.     After Blakeney was hired by the Pine Lawn police department, Blakeney

        was awarded the Medal of Valor in 2010 for his police work.

               b.     Blakeney received the Distinguished Service Medal for his work for the

        Pine Lawn police department in 2011. Blakeney received the Chief’s letter of

        Commendation while working for the Pine Lawn police department in 2011.

               c.     Blakeney was promoted to the rank of Corporal in 2011.

               d.     Blakeney was promoted to Sergeant in 2012.



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            e.      Blakeney was appointed by Board of Aldermen the responsibilities of

     Commander of Operations and Criminal Investigations in 2012 for the Pine Lawn police

     department.

            f.      In July 2013, Blakeney was presented with the Chief’s letter of

     Commendation in Creve Coeur, Missouri for his police work.

            g.      Blakeney received the Sheriff’s letter of appreciation in Jefferson County,

     Missouri in October 2013 for his police work.

            h.      Blakeney received certifications for attendance and completion of

     numerous training classes to support his position as commander. Copies of the awards

     and/or honors and certifications are attached as Exhibit 1.

            i.      In May 2013, Blakeney received the letter of commendation from the

     Mayor of Pine Lawn. Mayor Sylvester Caldwell (“Caldwell”) forwarded his letter of

     commendation for Blakeney’s exceptional police work to the Attorney General’s Office

     and the Missouri Department of Public Safety.           A copy of the Mayor’s letter of

     commendation is attached as Exhibit 2.

            j.      The   Missouri    State   Investigator   Association   awarded   Blakeney

     “Investigator of the Year” for 2013-2014. The award was given to a single police officer

     in the State of Missouri. Blakeney was presented this honor at a conference awards dinner

     in May 2014. His investigations included clearing approximately half dozen burglaries

     committed by a serial burglar. Blakeney obtained a confession from a registered sexual

     offender that had committed a rape on a juvenile. Blakeney secured an arrest on a shooting

     suspect that shot a juvenile in the leg after an un-provoked attack. Blakeney, after

     conducting controlled buys of drugs, secured search warrants on two houses, resulting in



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     numerous arrests and ,a seizure of weapons and illegal drugs. Blakeney also conducted an

     investigation that uncovered corruption in a neighboring jurisdiction police department.

     The investigation resulted in two police officers being arrested by the Federal Bureau of

     Investigation for conspiracy to distribute drugs. After working on an investigation of a

     suicide by a local star athlete, Blakeney determined that a possible motive may have been

     bullying. Two separate felony arrests were made as a result of Blakeney’s investigation.

     Blakeney also located suspects from other jurisdictions wanted for homicides and first-

     degree assaults. Additionally, Blakeney located material witnesses for the circuit attorney's

     office. A copy of the Missouri State Investigator Association “Investigator of The Year”

     award is attached as Exhibit 3.

            k.      Blakeney was promoted to Lieutenant in May 2014, and he became the

     Deputy Chief in charge of the Pine Lawn police department day-to-day operations

     (approximately 3 months before the Mayor was indicted and 6-7 months prior to Pine Lawn

     removing Blakeney from his duties).

            l.      At the time of Blakeney’s last promotion, he had not had any written

     employment disciplinary actions while working for Pine Lawn.

            m.      Blakeney was the most decorated and trained police officer in the Pine

     Lawn Police Department during the time period that the City of Pine Lawn employed

     Blakeney.

            n.      Under Blakeney’s command, the crime rate in Pine Lawn dropped because

     of Blakeney’s “zero tolerance” policy, described by Director Gray as Blakeney’s

     “philosophy” of “zero tolerance”, and “no discretion, by the book, period”. Director Gray

     described Blakeney as “a no-nonsense kind of guy when it came down to the streets.”



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B.        Blakeney Blows the Whistle on Several City of Pine Lawn Officials.

          19.   Pine Lawn policies and regulations approved by the Board of Alderman provided

protections for whistleblowers, including protections for police officers who investigate illegal

conduct in the government.

          20.   Blakeney discovered, investigated and reported rampant illegal activity within the

City of Pine Lawn government.

          21.   Investigators with the Federal Bureau of Investigation (“FBI”) approached

Blakeney in the late summer of 2013 and requested information regarding illegal activities by

government officials working for Pine Lawn.

          22.   During 2013 and 2014, Blakeney supplied pertinent information to the FBI

regarding corruption by officials working for Pine Lawn.

          23.   In addition, Pine Lawn Board of Aldermen officials requested and received

information from Blakeney regarding other Pine Lawn officials that the Aldermen suspected to be

involved in criminal activity.

          24.   Blakeney also reported several suspected illegal activities to the Missouri State

Police.

          25.   Blakeney’s cooperation with the FBI, and the suspecting Pine Lawn officials,

provided them with information that likely contributed to Mayor Caldwell’s, arrest, indictment,

and eventual criminal conviction and 33-month prison sentence for extortion.

          26.   The information provided by Blakeney also led to the termination and arrest of the

then-Pine Lawn City Administrator, Brian Krueger (“Krueger”), for misappropriating City funds

through a fraudulent bank account.




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       27.     The information Blakeney provided also led to the removal of Municipal Attorney

Anthony Gray as the Pine Lawn Director of Public Safety.

Blakeney discovered and reported suspected illegal activity of Mayor Caldwell

       28.     Blakeney’s information provided to the FBI (and Aldermen) included, but was not

limited to, the following:

               a. Blakeney provided information possibly leading to the identification of key
       witnesses in an alleged extortion scheme(s) involving Mayor Caldwell. (Caldwell was
       indicted and pled guilty to this crime(s)).

               b. Mayor Caldwell had his driveway paved and porch repaired at the same time that
       Pine Lawn paid to repave the road in front of Mayor Caldwell’s house. There were
       approximately 65 other houses along the street that did not get their driveways and/or
       porches repaved at that time by that contractor. In addition, for the two days that the cement
       dried in the driveway of Mayor Caldwell’s house, Caldwell required Pine Lawn police
       officers to sit in their squad car in front of his house so that nobody would walk through
       the cement while it dried.

              c. Mayor Caldwell had people summoned to court by police officers after he
       observed some alleged minor violation that they committed. Many of these people were
       consistently the same individuals and he referenced them as the “bitter bunch”. Many of
       the people were believed to be past political adversaries or citizens that publicly criticized
       him. Mayor Caldwell frequently called for the arrest and summons of citizens on the police
       radio before switching to a new dispatch service. After switching radio dispatch services,
       he was prohibited from utilizing the police radio but still called Pine Lawn officers when
       he wanted to have someone arrested via cellular telephone.

               d. Mayor Caldwell ordered video and still footage of political adversaries who were
       arrested, by an outside vendor. Mayor Caldwell used the photos in a later campaign ad
       with the “Pine Lawn Evening World”. The Ad/Article in the paper discredited past and
       future political candidates pictured in various states of arrest. Some were leg shackled for
       the photos.

              e. Mayor Caldwell requested, through City Prosecutor Gray, an arrest warrant
       during the time period of his last election to arrest the opposing candidate on a minor
       offense that would normally require only a ticket. Caldwell was Police “Commissioner”
       by City Ordinance and was the Administrative head of the Pine Lawn Police Department.

               f. Mayor Caldwell would secure the release from jail or dismiss charges against
       certain individuals who were believed to be known supporters of Mayor Caldwell.




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            g. On one particular occasion, Mayor Caldwell obtained the release of an individual
     from the jail. The Mayor then gave beer(s) to the individual who was released because it
     was past the time that individual could obtain liquor from a store.

            h. Mayor Caldwell, on several occasions, had on-duty police officers stationed
     overnight in their squad cars to watch his D.J. equipment when he left it in the city
     community center and during other events. The officers were stationed at both entrances
     to make sure that his personal equipment was not stolen during a burglary.

            i. Mayor Caldwell had police officers act as personal security outside of the Pine
     Lawn jurisdiction while on duty, while he was working at private events (non-city
     business) at the Ambassador in North County and in other venues.

           j. Mayor Caldwell used a city public works van to transport his personal D.J.
     equipment to private events for non-city business.

           k. Mayor Caldwell visited various markets and shops located in Pine Lawn. The
     Mayor removed items but did not pay for them stating that they would be added to his tab.

             l. Mayor Caldwell required Pine Lawn employees to pump gasoline in his vehicle
     at gas stations, so he wouldn’t have to get out of his vehicle.

             m. Mayor Caldwell required Blakeney to buy the Mayor’s lunch or dinner on pay
     day on many occasions. Blakeney was requested to get a Boss’s Day gift every year and
     he had to supply two large bottles of cool water cologne on Mayor Caldwell’s birthday and
     Father’s Day each year. Blakeney had to supply a box of pizzas from a family friend’s
     business each month.

             n. Mayor Caldwell ordered other officers to stop and frisk people for positive
     confirmation of their identity if they were within a certain range of his house in Pine Lawn,
     such as a cable repairman. For example, Mayor Caldwell had officers call the 1-800
     numbers on the cable repairmen I.D. badges to confirm that they were cable company
     employees. Blakeney reported this to Mayor Caldwell as unlawful stops and unlawful
     detention during the stops, but it never ceased. Blakeney was reprimanded by Caldwell
     after advising him stops were unlawful.

             o. Mayor Caldwell ordered vehicles towed under any circumstances of arrest, even
     if the vehicle was safely and legally parked and the arrested owners consented to leaving
     the car parked on the street. Mayor Caldwell evaluated police officers’ performance based
     on the number of vehicles they towed during their shift and at DUI checkpoints.

             p. Mayor Caldwell mandated that each police officer write at least 80-100 tickets
     per month rendering totals of up to 1800-1900 summons/tickets during some months. The
     Mayor personally reviewed these numbers in a report prepared for him monthly and stated
     that they were needed to pay the “office salaries”, including the Mayor’s salary. Mayor
     Caldwell’s salary was increased to $60,000 as a full-time job after he was just elected to

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      office, plus he was given Health Insurance, free gasoline, a city credit card, a cellular
      phone, and use of three city cars for private non-city business.

              q. There were part-time Pine Lawn employees called the “neighborhood watch”,
      positions created by Caldwell, whose real job was to only watch Mayor Caldwell’s house
      24 hours per day after a brick was thrown through his window during his last election. The
      “neighborhood watch” cost the city ninety thousand dollars until it was ceased for
      budgetary reasons because of the immediate elimination of speed cameras.

             r. Mayor Caldwell frequently referred to the police department as his “private
      army”, “body guards,” and “his” police department.

              s. During the last state audit of Pine Lawn finances, it declared Mayor Caldwell’s
      city vehicle use excessive in its public release. The Mayor then obtained the use of three
      city vehicles, alternating them out daily to not place too many miles on any one vehicle.
      Mayor Caldwell declined to have the county GPS new radio system placed in his city
      vehicles, as required. The radios allocated to his vehicles from the county were placed and
      installed in non-operable retired police junk cars, costing tax payers thousands of dollars.

              t. Blakeney interviewed and investigated City Administrator Krueger about using
      state training funds for Pine Lawn general revenue when those funds were not given to
      Pine Lawn for its General operations. The training funds were being used to replace funds
      missing from the general fund. The state gave Pine Lawn training funds that were
      designated for certified police training and supplies. Blakeney questioned City
      Administrator Krueger about the misuse of the funds for other purposes and the legality of
      those actions. Blakeney also reported this to the State authorities and was seeking state
      criminal charges.

              u. Blakeney also informed the F.B.I. regarding numerous retaliation actions
      harassment and intimidation after Pine Lawn learned about Blakeney’s actions as a witness
      of the corruption. One example of the retaliation was the picture of a rat placed on his
      commander’s office door in the Pine Lawn Police station under a surveillance camera. City
      Administrator told Blakeney that the camera was inoperable.

              v. Blakeney also supplied the F.B.I. with a copy of a video and witness statements
      evidencing officers ignoring and violating the civil rights of a prisoner. Blakeney requested
      that the officers be terminated and investigated for possible criminal charges. After
      learning of Blakeney’s investigation results, Director Gray agreed with Blakeney and
      requested that the officers be terminated. Mayor Caldwell and City Attorney Smith refused
      to fire them even though their actions were egregious and illegal. Smith blocked their
      termination packets from being presented to the Board of Aldermen.

Blakeney’s reports of theft by the City Administrator, Brian Krueger.




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       29.     Blakeney discovered that City Administrator Krueger may have been misusing Pine

Lawn resources for his personal use.

       30.     In fact, Blakeney began an investigation into misappropriation of significant funds

from the Pine Lawn budget.

       31.     The prior assistant to City Administrator Krueger, Valerie Jenkins, discussed her

suspicions of Krueger’s fraud with Blakeney.

       32.     Blakeney began questioning City Administrator Krueger and others about the

unauthorized transfer of funds and Krueger’s separate bank account.

       33.     Blakeney discovered that Krueger had an unapproved City bank account that had

City funds deposited into the account.

       34.     On or about October 20, 2014, Krueger utilized approximately $9,000 out of a

$15,000 State of Missouri training fund check to pay for an Auto Tire mechanic bill because

general funds were lacking.

       35.     The ear-marked funds were to be used for civil disobedience training and supplies

during the Ferguson protests.

       36.     Blakeney advised Pine Lawn officials that he believed the actions to be criminal

and that the money should be returned.

       37.     Blakeney informed Director Gray about the misappropriation of City funds.

Blakeney contacted the State authorities, and then met with the Prosecuting Attorney’s office

executive assistant and advised them of the incident.

       38.     Blakeney also informed the F.B.I. of this activity.




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        39.      Mayor Caldwell, City Administrator Krueger, Blakeney’s supervisor, Director

Gray, and Attorney Smith were aware of Blakeney’s reports to the state and F.B.I. of suspected

illegal activities.

        40.      An investigation was commenced, and Krueger was informed of Blakeney’s

allegations. The information provided by Blakeney is likely what eventually led to the termination

and arrest of City Administrator Krueger, for misappropriating City funds through a fraudulent

bank account.

        41.      It was subsequently discovered by an auditor that approximately $400,000 was

misappropriated, according to news and audit reports.

Blakeney’s reports of gross overbilling by City attorney, Donnell Smith.

        42.      Blakeney discovered that City Attorney Donnell Smith (“Smith”) was submitting

bills that amounted to gross overbilling.

        43.      Smith’s bills to Pine Lawn were three to four times more than nearby

municipalities, which were significantly larger than Pine Lawn. The bills were also much larger

than the other larger municipalities that had Smith as their City Attorney. Smith was the personal

attorney for Mayor Caldwell in 2009 and settled a racial discrimination claim wherein Caldwell

alleged that he was wrongfully fired from his prior job at Dillard’s because of his race. The

potential conflict of interest was not disclosed to the board of aldermen. Smith also represented

Mayor Caldwell in other legal matters.

        44.      Blakeney reported the overbilling to Mayor Caldwell and the Board of Aldermen.

Blakeney discussed this issue at a meeting of the Board of Aldermen, with City Attorney Smith

present. The Board immediately went into closed session to further discuss the issue.




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       45.     Blakeney continued investigating misappropriation of funds and potential

“kickbacks” of payments.

       46.     Eventually, Smith did renegotiate his attorney fees and cut his monthly bills by

more than half, after Blakeney’s report of fraudulent billing.

Blakeney’s discipline of two officers for violation of a prisoner’s civil rights.

       24.     On August 9, 2014 Defendant Anthony Gray was the Director of Public Safety for

the City of Pine Lawn and had supervisory authority over the Pine Lawn Police Department and

its authorities. Defendant Gray was Blakeney’s supervisor.

       25.     There was an inmate at the Pine Lawn police department who attempted suicide.

Fortunately, the inmate did not die, and emergency medical personnel were able to revive him.

       26.     Blakeney was requested by Gray to investigate the incident, which revealed

egregious policy violations perpetrated by Pine Lawn officers Corporal (“Cpl.”) Clarence Harmon

(“Harmon”) and Sergeant (“Sgt.”) Willie Epps (“Epps”).

       27.     The inmate was allowed to keep his shoelaces when he was placed in the cell, a

serious violation of policy.

       28.     A video of the incident, subsequently reviewed by Blakeney, showed that Cpl.

Harmon walked to the cell and looked at the inmate hanging by the neck. Cpl. Harmon paused

and stared into the cell. Cpl. Harmon walked away without providing any assistance and without

calling for assistance.

       29.     It was discovered that Cpl. Harmon also had denied the inmate’s requested medical

attention prior to the inmate’s attempted suicide. The police report that was written by Cpl.

Harmon and approved by Sgt. Epps was completely different when compared to what was

observed on the video. [Civil Rights attorney Jarmaine Wooten in St. Louis, Missouri, represented



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the inmate victim, which is believed to have been settled before the case was filed in a 2015 civil

action against the City of Pine Lawn. A copy of a newspaper article summarizing the events is

attached as Exhibit 4.

       30.       After the investigation began into the attempted suicide, both Cpl. Harmon and Sgt.

Epps conspired to conceal their violations of policy and law by knowingly attempting to destroy

evidence and falsifying incident reports.

       31.       Blakeney photographed the inmate’s shoelaces that one of the officers discarded in

a trashcan. This was a criminal offense.

       32.       Upon learning of their actions, Blakeney recommended immediate termination for

both Officers.

       33.       However, neither Officer was terminated or even disciplined, as internal policy

required.

       34.       Director Gray concurred with Blakeney to terminate these officers immediately,

but Attorney Smith and Mayor Caldwell blocked it. This recommendation for discipline occurred

after Pine Lawn was informed that Blakeney was a whistleblower against officials at Pine Lawn

(as discussed in more detail below).

       35.       Blakeney informed Gray that the incident was reported to the FBI because of

federal violations. Blakeney provided the FBI with the video tape, the police report, and photos

of the inmate’s shoelaces that were discarded in a waste basket by the police officers.

       36.       Instead of initiating discipline proceedings against the officers, Sgt. Epps and Cpl.

Harmon were appointed by Mayor Caldwell and later Director Gray to "investigate" Blakeney for

allegedly approving unauthorized overtime.




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       37.     The overtime Blakeney was alleged to have approved, and which eventually led to

Pine Lawn’s rationale for Blakeney’s termination, was actually approved by Sgt. Epps and Cpl.

Struckhoff and their overtime approval was a direct police department policy violation. There was

no proper and competent investigation that took place at the very beginning of the process. In

addition to the above, Sgt. Epps was allegedly terminated from two different police departments

for sexual misconduct prior to being employed by the City of Pine Lawn. At the time of

Blakeney’s termination, Blakeney was also investigating Sgt. Epps’ truthfulness on his application

for employment with the City of Pine Lawn.

VI.    Events prior to the Mayor’s Indictment.

       38.     In May 2014, Blakeney was promoted to Lieutenant and Commander. The Pine

Lawn prosecutor, Gray (hereafter referred to as “Gray”) was placed into the position of Director

of Public Safety, “Chief of Police”, and the direct supervisor of Blakeney.

       39.     Michael Brown (a black teenager) was shot and killed by a white Ferguson police

officer on August 9, 2014.

       40.     After Michael Brown was shot, Director Gray began providing legal representation

of the family of shooting victim Michael Brown in Gray’s private practice, even though he was

the administrative head of the Pine Lawn police department (chief of police).

       41.     The Pine Lawn police department was a neighbor jurisdiction to and one of the

leading assisting agencies (first assisting department on the scene) to the Ferguson police

department for riot control.

       42.     During the first incidents of riots, Pine Lawn supplied up to 14 officers and

equipment to assist the Ferguson police department in restoring the peace.




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        43.     Plaintiff reported what appeared to be a glaring conflict of interest in that Gray was

an employee and supervisor of an agency investigating the shooting of Michael Brown, and the

private attorney representative of Michael Brown’s family.

        44.     Plaintiff voiced his concerns and his opposition to Gray’s endeavor to maintain two

obviously conflicting roles to appropriate authorities including, but not limited to Caldwell and the

Pine Lawn Board of Alderman.

        45.     On September 26th, 2014, Gray informed Blakeney that Caldwell was indicted by

a grand jury and arrested by the FBI on the charge of extortion. A copy of the Indictment is

attached as Exhibit 5.

        46.     During the week of September 26, 2014, Blakeney called a police department

meeting to address police officers’ many concerns about taking further orders from Caldwell and

to discuss the effect of Caldwell’s indictment on the department, as Caldwell was also the “Police

Commissioner”. Blakeney’s supervisor, Director Gray, was asked by Blakeney to attend the

meeting so that they both could answer the officers’ questions.

        47.     When arriving at the meeting, Blakeney was met by City Attorney Smith and Lou

Thymes (“Thymes”), the part-time spokesman for Pine Lawn who was also a personal friend of

Mayor Caldwell.

        48.     Blakeney had not informed Smith and Thymes about the department meeting and

Blakeney had not invited them to the meeting. However, Smith told the officers at the meeting that

Caldwell was still in charge of the department, even though he had been indicted, and they were

to follow all his directions.




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       49.     When Blakeney attempted to object, Smith demeaned and belittled Blakeney in the

presence of the entire police department. Smith told Blakeney that he would be terminated if he

refused to carry out any of Caldwell’s orders.

       50.     Blakeney subsequently learned that City Attorney Smith also told Director Gray

that “white” supervisors had always been a problem in the police department. Mayor Caldwell,

Director Gray and City Attorney Smith are African-American and Blakeney is Caucasian.

       51.     On September 29, 2014, Mayor Caldwell was arraigned in federal court and no

special restrictions were placed on him regarding the operation of activities for the Pine Lawn

police department.

       52.     Director Gray told Blakeney that Mayor Caldwell “is still in charge and it is

business as usual”. The Pine Lawn Board of Alderman allowed Caldwell to serve in the capacity

of Police Commissioner while under Federal Indictment.

VII. Events Immediately after Caldwell’s arraignment.

       53.     On September 29, 2014, Director Gray informed Blakeney about numerous

statements made by Mayor Caldwell to Gray.

       54.     Director Gray told Blakeney that Mayor Caldwell believed that Blakeney had

substantially assisted the FBI in obtaining a federal criminal indictment against him.

       55.     Caldwell told Gray that he believed Blakeney to be celebrating his indictment and

was up to no good and accused Blakeney of trying to remove Caldwell’s name from the Pine Lawn

police cars. Caldwell also accused Blakeney of removing boxes and paperwork from the police

station to further Caldwell’s Federal indictment.




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           56.   Director Gray told Blakeney that without special instructions from the federal court

after the indictment, “moves could be made on me”. Blakeney took that as a threat and as

retaliation by Mayor Caldwell and Pine Lawn.

           57.   The same day, Caldwell stripped Blakeney of his normal duties as commanding

officer.

           58.   Also, on September 29, 2014, Blakeney's department computer security clearance,

which allowed Blakeney access to Police Internal Affairs files and investigations, was revoked by

the City Administrator, Krueger. At that time, Krueger was already aware of Blakeney's ongoing

criminal investigation pertaining to Krueger's misappropriation of City funds.

           59.   Gray was given the responsibility for control of daily operations of the Pine Lawn

police department.

           60.   On September 30, 2014, after the aforementioned department meeting and

conversations with Gray, Blakeney's personal attorney sent correspondence to both Smith and

Gray citing Blakeney's cooperation with the FBI and pending criminal investigation into Krueger’s

activities.

           61.   This correspondence specifically alerted City officials to the protection rule offered

to a senior police officer in the "whistle-blower" clause located in the City's policy and procedure

manuals.

           62.   Caldwell was provided a copy of Blakeney's attorney's letter by Smith. Caldwell

immediately thereafter ordered all supervisory duties removed from Blakeney. A copy of this

correspondence is attached as Exhibit 6.

           63.   Blakeney was stripped of any operational control for the police department.

Director Gray informed Blakeney that Caldwell had ordered him to "watch" Blakeney 24/7.



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Blakeney’s attorney’s letter stated that Blakeney will continue to talk to the FBI and, in fact,

Blakeney continued to provide statements to the FBI.

       64.     On October. 10, 2014, Blakeney’s prior responsibilities of making statements to the

press regarding department issues were revoked.

       65.     On October 16, 2014, a picture of a rat was placed on the outside of Blakeney’s

office door. A copy of the picture is attached as Exhibit 7.

       66.     Blakeney notified Director Gray, City Administrator Krueger, and Mayor Caldwell

about the rat picture being placed on his “commander of operations” office door. Blakeney asked

for an investigation.

       67.     Mayor Caldwell told Director Gray that it was merely a “Halloween decoration”.

However, Halloween decorations were never set up in the police department in the past.

       68.     In addition, City Administrator Krueger informed Blakeney that the department

station camera, which would have identified the person who placed the rat picture on his door, was

“inoperable.” No other actions/investigations were taken to stop the ongoing harassment that

Blakeney was receiving after he became a whistleblower.

Events Immediately preceding the Attempted October 29, 2014 Hearing.

       69.     On October 28, 2014, Blakeney received a summons from City Administrator

Krueger to attend a board meeting that was to take place on the following day, October 29 at 5:30

p.m. to discuss “personnel issues.” No other information was provided to Blakeney regarding the

board meeting. A copy of the letter is attached as Exhibit 8.

       70.     Blakeney requested Gray and Krueger to provide additional information about the

board meeting and Blakeney requested that any potential charges made against him be provided




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to him in writing as required by policy and city ordinance. Blakeney never received any additional

information regarding this meeting from Pine Lawn.

       71.      On October 29, 2014, Blakeney attended a family court hearing regarding a

personal ongoing custody dispute with his ex-wife. At this hearing, Blakeney's ex-wife's attorney

disclosed, in open court, that "Blakeney was to be terminated from Pine Lawn later this afternoon."

His ex-wife and her attorney had obtained information about Blakeney’s job status from someone

at Pine Lawn.

       72.      In addition, Blakeney’s ex-wife's attorney also disclosed Blakeney’s restricted Pine

Lawn personnel information along with HIPPA-protected information about Blakeney at the

October 29, 2014 hearing.

       73.      The family court judge ordered the attorney to disclose the origin of the restricted

information. At the hearing, the court was informed that the restricted information had come from

the Pine Lawn City Administrator, Krueger.         Krueger had discussed the City’s preplanned

termination of Blakeney and gave Blakeney’s medical file and personnel file to his ex-wife’s

attorney for use during a custody dispute over Blakeney’s sons.

       74.      Immediately after the hearing on his custody case, and learning that the City was

going to fire him that afternoon, Blakeney contacted Gray and requested additional information

about the Board meeting, which was scheduled later that day, that he was to attend.

       75.      The Board meeting of October 29, 2014 was cancelled shortly after Blakeney spoke

with Gray.

       76.      Blakeney also informed both Director Gray and City Attorney Smith that

documents from his personnel file and medical records were disclosed by Krueger to Blakeney's

ex-wife's attorney.



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       77.     Blakeney requested an immediate investigation into the unauthorized disclosure of

his Pine Lawn records. No investigation into the release of Blakeney’s restricted records was ever

conducted. There was never any reprimand given regarding the release of restricted and protected

information to Blakeney's ex-wife's attorney.

       78.     On October 30, 2014, Gray delivered a message to Blakeney from the City

Administrator Krueger requesting that Blakeney resign his position. Blakeney was offered six

months’ severance pay. The severance offer required a waiver of all claims against Pine Lawn.

Blakeney rejected the offer.

       79.     Blakeney continued to wait to see what would be done about the family court

disclosure. On November 21, 2014, Blakeney sent a message to Smith, the city attorney, asking

that the hostile work environment cease, and asked that certain administrators who were acting

maliciously towards Blakeney stop these actions. Blakeney received no response from Smith.

       80.     Although no one was identified in Blakeney’s letter to Smith, City Administrator

Krueger responded to the letter stating that if Blakeney “wants to talk about my veiled accusation

directed at him, the ball was in his court”. A copy of this message and Krueger’s email response

are attached as Exhibit 9.

Events before the announcement of the Grand Jury Verdict on the Michael Brown
shooting.

       81.     On or about November 21, 2014, Blakeney (still commander of the special response

unit) spoke with Director Gray, at Gray’s request, about Pine Lawn police resources that would be

committed to aid the neighboring City of Ferguson police department.

       82.     Gray became aware that an anticipated Grand Jury verdict was to be released on

November 24, 2014 regarding the police officer involved in the shooting death of Michael Brown.




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There was a mutual aid agreement between the Pine Lawn police department and Ferguson police

department.

       83.       In addition, Pine Lawn officers received months of riot training and had been

working in Ferguson since August 2014.          The Pine Lawn police department had received

approximately $15,000 for training and supplies that were earmarked to assist the Ferguson police

department with any problems after the announcement of any Grand Jury decision. A copy of a

photo of some of the supplies given to Pine Lawn, including a mobile command center, is attached

as Exhibit 10.

       84.       At the conclusion of Blakeney's meeting with Director Gray, Gray ordered

Blakeney to immediately cease any mutual aid with the Ferguson police department. Gray

explained to Blakeney that he did not want to have Pine Lawn police officers and Pine Lawn

equipment in Ferguson after the Grand Jury released its decision on whether Officer Darren Wilson

was indicted for shooting Michael Brown.

       85.       At this time period, Director Gray (who was, in effect, the Police Chief of Pine

Lawn) was also representing the Michael Brown family as their family attorney. Blakeney

requested that Gray take an immediate leave of absence from the Pine Lawn police department

while he was the civil attorney for the Brown family preparing a civil complaint against the City

of Ferguson.

       86.       Blakeney explained to Director Gray that there was a clear conflict of interest and

that Gray’s Order to disregard the mutual aid agreement (especially while acting as Counsel for

the Brown family) was unethical and was possibly illegal.




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       87.     Director Gray told Blakeney that he could make decisions for both the Brown

family and Pine Lawn. Gray told Blakeney that Pine Lawn did not have to honor the mutual aid

agreement.

       88.     Gray has provided sworn testimony, that the above-referenced conflict of interest

existed.

Immediate Events leading up to the November 22, 2014 Hearing.

       89.     On that same day, November 21, 2014 (Friday), Blakeney became aware that an

attempt was being made to get a quorum of Pine Lawn Board members to have an emergency

meeting the next day (Saturday), possibly about Blakeney’s employment.

       90.     After Blakeney’s meeting with Gray about Ferguson, and after Blakeney left the

building, at approximately 5:00 p.m. on November 21, 2014, City Administrator Krueger and

Director Gray posted signs around the police station stating that Blakeney was not allowed to be

on City property.

       91.     Blakeney was not given written notice or explanation of why he was not allowed

on City property. This was in direct violation of City ordinance and police department policy.

       92.     The failure to provide notice was a violation of Blakeney’s due process rights

afforded him contractually and by the Constitution of the United States. A copy of the sign posted

by The City Administrator, before any action was consummated to discipline or terminate

Blakeney, and a copy of a text message with City Attorney Smith about posting the sign before

any hearing, are attached as Exhibit 11.

       93.     At approximately 10:05 p.m. on that same day, a Pine Lawn City Board meeting

notice was posted announcing a board meeting scheduled to take place the next day, on a Saturday

(November 22, 2014).



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       94.     The notice of the board meeting was purposely posted behind an ash tray that stood

in front of the door of City Hall. A copy of the notice for the meeting which was placed behind an

ashtray, and a picture of the notice after Pine Lawn officials moved the ashtray after Blakeney

complained, are attached as Exhibit 12.

       95.     This board meeting was the first one that took place on a Saturday in the five (5)

years that Blakeney worked for the Pine Lawn Police Department. This board meeting was not in

compliance with the Missouri Sunshine Law (RSMO § 610.020.2). In fact, the Missouri Attorney

General’s office stated that the meeting did not comply with the Missouri Sunshine Law. A copy

of the Missouri Attorney General’s statement is attached as Exhibit 13.

       96.     Another letter was sent from Blakeney’s attorney to Pine Lawn advising them of

improper procedures and obvious hostile tactics created to terminate Blakeney, without cause or

due process, in front of the board. Gray was also advised of the improper posting of the notice for

the meeting, in regard to date and time, and its placement of the notice of the meeting, required by

the Missouri Sunshine Law. A copy of this correspondence is attached as Exhibit 14.

       97.     Blakeney was verbally notified by City Administrator Krueger to report to City

Hall for the Board meeting just hours before the meeting began.

       98.     Blakeney was specifically told that he could not be accompanied by legal counsel,

a violation of Blakeney's right to due process set out in department's policies and procedure manual

§ 309.0J(e).

       99.     Prior to the meeting, Blakeney still had not received any response to objections to

violations of the Missouri Sunshine Law.

       100.    Blakeney never received anything in writing letting him know what he had

allegedly done wrong.



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       101.   Blakeney did not know anything about the meeting other than he was verbally told

it was about his employment.

       102.   Smith was the city attorney for Pine Lawn and was involved with the setting of

hearings regarding personnel issues and presenting, or not presenting evidence, during the

hearings. Blakeney made a compliant with The Attorney General’s Office regarding violations of

the Missouri Sunshine Law. See Exhibit 13.

The November 22, 2014 Board Meeting.

       103.   Upon arrival at City Hall for the meeting, Blakeney was met at his vehicle by five

armed police officers who, at the direction of City Administrator Krueger, disarmed Blakeney

while he was in full Commander's uniform.

       104.   The five armed officers escorted Blakeney into City Hall. Two of the officers who

disarmed Blakeney had pending serious discipline charges against them that were initiated by

Blakeney. Blakeney had previously requested that these officers be terminated.

       105.   Several of these officers were specifically called in to work to perform this act of

intimidation. One officer, who Blakeney had requested to be terminated, extended his hand to

make contact with Blakeney, because Blakeney was not moving fast enough in the direction he

desired. Blakeney was treated like a criminal.

       106.   It wasn’t until after Blakeney entered the Council Chambers that it was revealed to

him by City Attorney Smith that the meeting was a disciplinary hearing, another violation of

Blakeney's due process rights (§ 309.03(A)).

       107.   Prior to the commencement of the proceeding, Blakeney advised Smith and the

members of the Board of Alderman that he was entitled to have advance notice of any disciplinary




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charges against him at least ten days in advance of any disciplinary hearing, and notice of any

actions being considered against him.

        108.   Blakeney also advised them that the meeting was improperly noticed on purpose

and in direct violation of the Missouri Sunshine Law, and that to continue with the meeting would

be unlawful. Smith (employed by the City as legal counsel since 2005) advised the Board of

Alderman that Blakeney had no such due process rights and that the Board could proceed with the

meeting.

        109.   The City Administrator began the November 22, 2014 board meeting with a list of

frivolous charges dating back almost five years earlier that had been investigated and dismissed

without any disciplinary action taken.

        110.   Blakeney had received multiple promotions and service awards since those

allegations were made almost five years before the hearing.

        111.   The Chief of Police at the time, Ricky Collins, investigated the allegations and

cleared Blakeney of all unfounded allegations.

        112.   After Blakeney questioned the improper procedure of getting notice of the meeting

and not receiving any written charges, Smith told the board that “we can do anything we want to

do.” Smith also stated that Blakeney “created these actions himself, and there was no protection

for that”.

        113.   During the meeting, City Attorney Smith stated that Pine Lawn had received a letter

from Blakeney’s personal attorney. However, Smith did not read the contents of the letter and

never provided copies of the letter to the Board.

        114.   Smith did not inform the Board that Blakeney alleged improper notice about all the

proceedings and had alleged whistleblower protection and harassment.



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       115.    Smith also failed to advise the Board of the investigation into Krueger’s possible

theft, Krueger’s fraudulent bank account, and Blakeney’s assistance with obtaining the indictment

of Mayor Caldwell.

       116.    The board meeting lasted 4.5 hours with questioning by City Attorney Smith acting

as an overzealous prosecutor. Like Krueger did in his initial statement, Smith again accused

Blakeney of unfounded and untruthful allegations, which arose out of unfounded allegations that

were years old and had previously been disposed of internally.

       117.    Smith never said anything about the fact that the police chief at the time of Smith’s

allegations, Ricky Collins, investigated these previous allegations, discussed them with Pine Lawn

officials, and cleared Blakeney because those allegations were unfounded.             However, at

Blakeney’s hearing, Smith gave the impression that these incidents were now new.

       118.    At the time of the hearing, Blakeney did not know the circumstances of what was

even being discussed at the hearing because he was not allowed to examine those old allegations

being made by Smith.

       119.    No documentation of any allegation was provided to Blakeney for review prior to

the hearing to prepare answers for the Board. There were no specific charges ever brought forth

in his hearing in his presence, as required by Pine Lawn policy and ordinance, so that Blakeney

could provide a response to the allegations.

       120.    During the hearing, Blakeney was not allowed to view anything and he did not

receive any of the documents that were being discussed at the meeting.

       121.    Blakeney was given no time to prepare and has never received any of the charges

in writing. In addition, Smith had called a secret meeting of the Board several days prior to the

November 22 hearing, and Smith presented disgruntled officers, who were being



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disciplined/terminated by Blakeney, present Blakeney in a false light. Blakeney did not even know

about the covert meetings of his employment until years later.

          122.   On two occasions during the hearing, Blakeney alleged misconduct and requested

an independent unbiased investigation of any of the allegations from an outside agency, which

Blakeney was entitled to as the Commanding Officer.

          123.   Both requests were denied by Smith, City Administrator Krueger, and the Board of

Alderman. The issues that occurred 5 years earlier had already been disposed of, and were proven

to be unfounded after an investigation, but these issues were presented to the board by Smith as if

they were still pending again.

          124.   These earlier incidents were disclosed to a civil attorney, who apparently contacted

the alleged victims and inserted the allegations into a settlement demand letter against Blakeney

and Pine Lawn. (“The Ryals’ claims”).

          125.   The Ryals’ claims, and events occurring after the claims, are discussed in greater

detail later in this Petition. As discussed in greater detail later in this Petition, Blakeney was not

the arresting officer or officer in charge in most of these allegations in the Ryals’ claims. There

was no merit to the prior allegations as Blakeney had been promoted multiple times since those

alleged incidents occurred.

          126.   During the meeting, Blakeney was questioned about authorizing overtime pay for

an officer to pick up two females from Blakeney’s personal residence on one occasion in

November 2014.

          127.   Blakeney denied the allegation and requested further investigation, which was

denied.




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       128.    The “General Orders” and desk book entries at the Pine Lawn Police Department

states that the supervisor who approves the overtime must sign the overtime authorization

document on the day that overtime was worked. Copies of the general order and desk book entry

are attached as Exhibit 15.

       129.    The overtime authorization document showed that Blakeney did not approve the

overtime of the officer. Another supervisor, Cpl. Struckhoff, signed the document authorizing

Cpl. Rinck’s overtime, nine days after requested, in violation of policy. That Order is attached as

Exhibit 16.

       130.    Officer Epps also signed off on the overtime because he was in charge of payroll.

In addition, Blakeney could not have signed off on the overtime requests because his operational

duties for payroll had already been removed by Mayor Caldwell.

       131.    At the time that Blakeney left the hearing, there was no outcome stated by the

Board. After the meeting, another letter was sent by Blakeney’s personal attorney to Pine Lawn

advising them of the improper procedure and retaliation misconduct on city leaders, which is

attached with this correspondence as Exhibit 17.

       132.    Blakeney was contacted after the hearing on his way home by Director Gray. Gray

informed Blakeney that he had been suspended from active duty until further notice. No formal

reason or justification was given by anyone for Blakeney's suspension. Again, this was in direct

violation of Pine Lawn City Ordinance and Police Department policy and procedure.

       133.    It has been subsequently learned that the Board of Aldermen did not suspend

Blakeney from active duty at the November hearing, as Gray had advised Blakeney. A copy of

the 11/22/14 Pine Lawn board meeting minutes, indicating no action was taken involving

Blakeney, is attached as Exhibit 18.



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       134.    Blakeney was not allowed to appeal his suspension, in further violation of police

department policy and city ordinance. City Administrator Krueger requested that Blakeney turn

in all his department equipment including his department car, badge, and guns. No officer placed

on paid “leave” was required to turn in all their equipment. On all prior occasions, an officer

turned over his/her equipment only after termination.

The Grand Jury Announcement in the Michael Brown Case.

       135.    On November 24, 2014, a dozen specially trained Pine Lawn police officers did not

respond to the calls for assistance from the Ferguson police department, although Pine Lawn had

received training and supplies to respond.

       136.    The specially trained Pine Lawn police officers had been working in Ferguson since

August. A copy of a photo of supplies and the mobile command center, that went unused after the

verdict was announced, is attached as Exhibit 10.

       137.    Blakeney was told that he was suspended from active duty by Gray (who was the

Michael Brown family attorney), and thus Pine Lawn officers did not respond to assist the

Ferguson Police Department during civil unrest that followed the Grand Jury's charging decision.

(The Grand Jury decided to not indict a white police officer in the shooting death of an unarmed

black teenager).

       138.    This decision by Gray for Pine Lawn to not respond was made even though several

calls for assistance were made over the mutual aid police radio. Pine Lawn Police Department had

previously been aiding Ferguson Police, and had been doing so since August 9, 2014.

       139.    A Police unit, with over 15 specially trained officers (with special equipment)

waited to respond to a civil disturbance, but instead, buildings continued to be set on fire in

Ferguson where there was no police presence, and the Pine Lawn officers and equipment remained



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idle in a parking lot outside of Ferguson pursuant to the orders of Director Gray (i.e., the "effective"

Chief of the Pine Lawn Police Department) who was representing the Michael Brown family in

their future lawsuit against the City of Ferguson and Officer Darren Wilson. (Gray ended up

settling their civil case for Millions).

        140.    The mobile command center (Exhibit 10) and other special operations vehicles

were not utilized and sat in the parking lot. Blakeney had a text message exchange with Director

Grey after the verdict (See Exhibit 19), which stated:

        Blakeney: Kind of convenient I was removed as commander of the CRT
        not even 2 days later the verdict is released, and all my credentials and
        weapons are taken when normally not required by policy.

        Grey: Yep, timing is bad.

Events Immediately Prior to the December 14, 2014 Hearing.

        141.    On November 26, 2014, an Order was issued to the police officers, via the desk

book, that no information regarding the police department was to be given to Blakeney (“the

commanding officer”) or the officer would face discipline, up to termination. Sgt. Epps also

verbally ordered officers at Pine Lawn not to discuss any department information with Blakeney

or they would be terminated. A copy of the Order is attached as Exhibit 20.

The December 14, 2014 Hearing.

        142.    The Board of Alderman for Pine Lawn terminated Blakeney (although Blakeney

did not know it until well after the hearing was over) in a hearing held on December 14, 2014,

which was a Sunday.

        143.    The Board meeting held on December 14, 2014 was also not in compliance with

the Missouri Sunshine Law, RSMO §610 et. seq. Again, Pine Lawn did not post the Notice of

meeting at least twenty-four hours in advance of the meeting, exclusive of weekends and holidays.



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       144.    This also was one of the many findings by the Missouri Attorney General’s office,

which issued a letter to Pine Lawn about the violations, a copy is attached as Exhibit 13. The

Attorney General of Missouri found that “The Sunshine Law states that notice for a meeting must

be posted twenty-four hours in advance of a meeting, exclusive of weekends and holidays.”

       145.    The Attorney General’s Office further found that: December 14, 2014 was a

Sunday, so the notice posted on December 12, 2014 was only posted eleven and a half hours in

advance of the meeting.” See Exhibit 13.

       146.    In Blakeney’s entire employment history with Pine Lawn, there was not a Board

meeting on a Sunday. Likewise, the December 14, 2014 meeting Notice did not have enough

sufficient details in the tentative agenda as required by the Missouri Sunshine Act. See the attached

Attorney General’s letter attached as Exhibit 13.

       147.    In addition, the Board of Aldermen met covertly and discussed Blakeney’s

employment prior to the December 14th hearing, which covert meeting had no notice whatsoever.

       148.    Attorney Smith and Mayor Caldwell also convened a secret, unnoticed Board

meeting to discuss Blakeney’s employment wherein Smith presented documents and questioned

witnesses without any cross examination.

       149.    The Board was tainted before they even met with Blakeney. During the December

14 Board hearing, Blakeney informed board members that the notice was improper, and the

meeting violated the Sunshine Act.

       150.    Blakeney eventually learned that he was terminated as a result of the December 14,

2014 Board hearing.

       151.    There is no evidence sufficient enough in Blakeney's personnel file to justify

Blakeney's termination, or the reason given for such termination from the Pine Lawn Police



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Department, as is required by Pine Lawn City Ordinance 125.130. Copies of the Ordinances,

regulations, and policies violated by the City are attached as Exhibit 21.

       152.    Pine Lawn City Ordinance prohibits a permanent employee from being disciplined

except for violations of established rules and regulations (125.130). Specifically, no officer shall

be suspended or otherwise discharged except “for cause”.

       153.    Pine Lawn was required to issue a written statement citing reason(s) for suspension

or termination, and the statement was required to list the effective date of the action, per City

Ordinance. None of these procedures were followed in Blakeney’s case.

       154.    In fact, twenty-four regulations/ordinances were willfully violated in terminating

Blakeney. A copy of the regulations are attached as Exhibit 21. Attorney Smith testified numerous

times that a hearing, notice, and reasons for discipline did not have to be given to police officers,

even though it had been done in the past. Smith testified:

               Q: You believe it is okay for the mayor to say, “I want him gone,”
               without giving any specific references to the established rules and
               regulations?

               A: Yes.

       155.    After Blakeney received a multitude of awards and honors, and after Blakeney’s

promotion in May 2014, and after discovering Blakeney was an FBI and State informant, and after

investigating and reporting Krueger for stealing, and after the Mayor’s indictment for getting

kickbacks from providing business to a local towing company, and during Blakeney’s

investigation into Smith’s exorbitant overbilling of Pine Lawn, and allegations of kickbacks to the

Mayor, Smith told the Mayor that Blakeney would be a problem:

       A: I have been city attorney for 11 years. First of all, I didn’t routinely
       make recommendations unless they were solicited. I do not recall ever
       recommending a termination of someone simply because they testified
       unfavorably to the mayor. I have had conversations with individuals, with

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        the mayor, namely about Blakeney, because of what I have observed
        personally and heard and found to be substantially true. So, I have
        articulated my concerns, not in the form of a recommendation, but a concern
        when I felt like an employee should no longer be with the City. I would
        probably couch it as “He is going to be a problem.”

        Q: You said that about Blakeney?

        A: I said it about Blakeney. I probably said it about others.

        156.   After the Board of Alderman hearing, Blakeney’s paycheck was withheld for two

days.

        157.   Blakeney was still not allowed on City property.

        158.   Pine Lawn initially demanded that Blakeney sign a Release of all claims before it

would give him his paycheck. A copy of Pine Lawn’s proposed Release is attached as Exhibit 22.

        159.   Blakeney refused to sign it but he still requested his paycheck. Thereafter, City

Administrator Krueger, escorted by Sgt. Epps, met Blakeney at a gas station to collect Blakeney’s

department dress uniform before giving Blakeney his paycheck.

        160.   Initially, when Blakeney was given the check, the check stated at the bottom that it

was a final release of all claims. Blakeney refused the check and Krueger and Sgt. Epps took the

check and whited out the language.

        161.   Krueger and Epps attempted to trick Blakeney into cashing a check that could

potentially release claims against them. A copy of the check, after the white out, is attached along

with pictures involving the incident, as Exhibit 22.

        162.   Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the City of Pine Lawn to provide process before disciplinary action can be taken against

Blakeney and/or before discharge of Blakeney if a property interest or liberty interest exists.




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        163.    U.S. Const. Amend. XIV. Blakeney had an expectancy of continued employment.

A police officer, including Blakeney, has a property interest in employment pursuant to §84.120,

RSMo 2000 and Loudermill v. Cleveland Board of Education, 470 U.S. 532 (1985).

        164.    In addition, Pine Lawn ordinances and police department policy provides the right

of due process before discipline of a Pine Lawn employee. Copies of the policies, ordinances, and

regulations are attached as Exhibit 21.

        165.    Blakeney was never provided notice for his discipline. Blakeney never had an

adequate opportunity for a hearing prior to termination.

        166.    Blakeney was not allowed to see evidence, question witnesses, provide statements

or any other means to address issues at hearing.

        167.    Blakeney never had opportunity to rebut the reason for termination. In fact,

Blakeney couldn’t even bring an attorney to the hearings, as policy allowed. This is an egregious

and intentional violation of policy to strip Blakeney of his due process rights.

        168.    Smith, Krueger, Caldwell, Gray, Epps, Struckhoff, Harmon, and the Board of

Aldermen were willful participants in actions of government representatives in denying Blakeney

his constitutional rights.

        169.    City Attorney Smith knew of the Constitutional rights that Blakeney possessed

because Blakeney discussed the proper procedures in providing Notice and information for

disciplinary actions involving many other officers while Blakeney was a supervisor.

        170.    In fact, after Blakeney became a supervisor and had to discipline other officers,

proper notices were provided prior to hearings. These properly prepared notices were signed by

Pine Lawn officials, so they were aware of what was required.

The Sunshine Act.



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         171.   Section 610.020, RSMo Supp. 2013, requires all public governmental bodies to

provide notice of each meeting. The Notice must include: 1) the time, date, and place of the

meeting, and 2) the meeting’s tentative agenda. Section 610.020.1. The Notice of the government

meeting must also be posted in a prominent place in the public governmental body’s principal

office that is accessible to the public. If there is no such office, then the Notice must be posted in

a prominent place in the building where the meeting will be held. Id. The government entity’s

Notice of meeting must also be posted at least 24 hours before the meeting, excluding weekends

and excluding holidays when the office is closed. Section 610.020.2. All public meetings must

be at a time reasonably convenient to the public. Section 610.020.2, RSMo Supp.2013

         172.   The Board of Alderman for Pine Lawn allegedly suspended Blakeney in a hearing

held on November 22, 2014, which was a Saturday and not on a weekday, and not at a time

reasonably convenient to the public. Director Gray informed Blakeney that he was suspended

after the November 22, 2014 hearing, two days before Pine Lawn was to assist with the Ferguson

riots.   However, the “alleged” suspension is speculative because the Board minutes show

adjournment without any vote for suspension. The minutes are attached as Exhibit 18.

         173.   In Blakeney’s entire employment history with Pine Lawn, he could not recall any

Board meeting ever being held on a Saturday, except for this meeting. Pine Lawn did not post the

Notice of meeting at least twenty-four hours in advance of the meeting, exclusive of weekends and

holidays.

         174.   The November 22, 2014 meeting Notice did not have sufficient details in the

tentative agenda. These were some of the many findings by the Missouri Attorney General’s

office, which issued a letter to Pine Lawn about the violations. A copy of the Attorney General’s

letter is attached as Exhibit 13.



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       175.    The November 22, 2014 board meeting Notice was dated April 24, 2012. A copy

of the Notice is attached as Exhibit 12

       176.    The November 22, 2014 board meeting Notice was initially placed in the lower left-

hand side of a door with an ash tray in front of it, so that it was hidden from sight. A photo of the

placement of the Notice is attached as Exhibit 12.

       177.    In addition, it was subsequently learned that some Board members met and

discussed Blakeney’s employment in covert unpublicized meetings, orchestrated by Attorney

Smith and Mayor Caldwell, to taint the board members before an actual scheduled and noticed

hearing. This covert meeting had no notice whatsoever.

       178.    During the secret meetings, City Attorney Smith presided over the meeting and

called witnesses to provide defamatory statements to the Board.

       179.    Mayor Caldwell called the clandestine Board meeting. There have been no covert

unpublicized meeting minutes produced by Pine Lawn, if they exist at all.

       180.    Obviously, this meeting clearly violated the Sunshine Act and injured Blakeney

because he was not able to refute anything the Board was told at the meeting.

       181.    Likewise, the December 14, 2014 hearing had all the same defects with notice, time,

identification of reasons for the hearing. These violations of the Sunshine Act are also stated in

the Missouri Attorney General’s letter, attached as Exhibit 13.

       182.    According to the Missouri Sunshine Laws, any actions at the November 22, 2014

and December 14, 2014 board meetings are void.

       183.    It should also be noted that Blakeney would be entitled to any back pay because of

the void Orders.




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       184.    Blakeney also would obtain any future lost earnings that he is entitled to receive.

If the City of Pine Lawn’s actions and inactions were “knowing” violations of the Sunshine laws,

then Blakeney would be entitled to civil penalties of $1,000.00 for each violation, plus all costs

and reasonable attorney’s fees.

       185.    If the City of Pine Lawn’s actions and inactions were “purposeful” then Blakeney

would be entitled to civil penalties of $5,000.00 for each violation, plus reasonable attorney’s fees

and costs.

Events Immediately After the December 14, 2014 Hearing.

       186.    On December 14, 2014, City Administrator Krueger summoned several news

media outlets and requested Blakeney’s ex-wife’s boyfriend, Michael Krupp, to come to City Hall

for a press release regarding Blakeney's termination. Blakeney and Michael Krupp had a very

contentious relationship and Blakeney had a restraining Order against Krupp. Pine Lawn officials

began giving Michael Krupp Blakeney’s medical records and personnel records, without

Blakeney’s consent.

       187.    When several media outlets arrived, City Administrator
                                                          )           Krueger provided the

media with a written memorandum stating the reason(s) why Blakeney
                                                                )  was terminated from the

Pine Lawn Police Department (which Blakeney never received). The information in this

"Memorandum" was completely untrue and has now been proven to have been fabricated to

publicly humiliate Blakeney. A copy of the memorandum is attached as Exhibit 23.

       188.    Krueger released what he called “the Blakeney packet”, which included a lot of

Blakeney’s personnel file. Krueger showed Attorney Smith “the Blakeney packet” and Krueger

confirmed with Attorney Smith that the documents, including Blakeney’s personnel file

documents, would be given to the press.



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       189.    When the reporter for KMOV questioned the legality of releasing Blakeney's

personnel information, City Administrator Krueger stated that, "I'll probably get in trouble, but I

don't care." Shortly thereafter, Blakeney was contacted via telephone by the same KMOV reporter

and a Post-dispatch reporter to request comment from Blakeney regarding his termination from

Pine Lawn.

       190.    At this point, Blakeney was still unaware of his termination, which apparently

happened on the day before he was contacted by the press. Blakeney was unaware of that fact

because the vote was not discussed openly in Blakeney's presence nor immediately conveyed to

him.

       191.    The various news agencies reported that Blakeney was terminated because of

meeting two women at a bar and the women couldn’t remember how they went back to Blakeney’s

house, clearly implying that Blakeney had done something improper with the women. This was

based upon what Brian Krueger and Smith stated in their memo, dated December 15, 2014, that

Blakeney was terminated for his interactions with two women. However, the only reason for

termination had to do with the untrue allegation that Blakeney improperly approved an officer’s

overtime. Blakeney’s termination did not involve any interactions with the two women. The City

Manger’s and City Attorney Smith’s memo is false regarding what the women stated and regarding

the reason for Blakeney’s termination.      Copies of several news reports about Blakeney’s

termination are attached as Exhibit 24.

       192.    Blakeney was eventually informed about his termination by individuals working

for the local news stations and the newspaper while asking for comment. The City Administrator

gave these reporters many documents from Blakeney’s personnel file that were never shown to

Blakeney. A few days after the press informed Blakeney of his termination, Blakeney received a



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letter from Pine Lawn advising him that he was terminated. Copies of the termination letters are

attached as Exhibit 25. Krueger testified that he was involved with Blakeney’s termination

although he was not involved in other law enforcement personnel decisions. For example, part of

Krueger’s testimony stated:

              Q: You didn’t have any involvement with Blakeney being fired, you
              didn’t have any input, correct?

              A: In that matter I had more hands-on, considering it was a law
              enforcement deal, than I had ever had before.

              Q: Why is that?

              A: Don’t have a good answer for that.              The mayor was
              incapacitated.

              Later on in his deposition, Krueger testified:

              Q: I think you testified to this, I want to make sure I understand, as
              far as the employees that you oversaw, your disciplinary procedures
              would be totally independent of those applied in the police
              department?

              A: I never interacted in police department discipline.

       193.   Smith and the Pine Lawn Board told Blakeney that he was terminated for approving

unauthorized overtime for a police officer. Thus, Blakeney was not terminated from Pine Lawn

for doing anything improper with two women as the above-referenced Memo indicated. The

women did not go to sleep and “wake up” at his house. Neither of the women had sex with

Blakeney.

       194.   The depositions of the two women, who were referenced in this memo, were taken

by the attorney for Pine Lawn (retained by and reporting to Defendant MOPERM).

       195.   Both women admit that they were only speculating that they were drugged but they

testified that they had been drinking alcohol all night, including 8 hours prior to first seeing



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Blakeney at 12 a.m. They were at Blakeney’s house for approximately 10 minutes, they never had

any type of relationship, sexual or otherwise.

       196.    In fact, the women did not write their statements to Pine Lawn, according to their

deposition testimony. Sgt. Epps and Cpl. Rinck prepared the statements and the girls did not

remember anything from 12a.m. to 4 a.m. and had to speak with Officer Rinck to get their facts

straight to sign off on their police statements.

       197.    Officer Rinck (a long-time friend of one of the women) who picked up the women

was off duty, and Blakeney was not the supervisor who signed off for the approval for any

overtime. The City Administrator Krueger’s and City Attorney Smith’s memo provided to the

media outlets was entirely false, and they knew it at the time of the press release.

       198.    The news channels reported that Blakeney was fired after he drugged and raped

women.      There were numerous prime-time reports about these false statements.              City

Administrator Krueger’s emails indicate that he encouraged these false reports in the news.

       199.    For example, the reporter from the KSDK station emailed Krueger on December

15, 2014 and stated:

       KSDK Reporter: “Thank you so much for being so helpful tonight. Would
       you be able to confirm whether either of the two women are filing any
       criminal charges against Blakeney for his alleged actions? Is the city filing
       any charges against him? Is there a way to find out how long he’s been a
       police officer at Pine Lawn? Do I need to submit a formal request to you to
       get records of whether or not he’s been suspended from the police
       department before, or any disciplinary action that’s been taken against him
       before with the department? Also, the packet you gave me... So those are
       the statements from the two women and Cpl. Rinck. Did they provide those
       statements to you during the internal investigation?”

       Krueger responded to the KSDK reporter about 20 minutes later:

       Krueger: “Unknown regarding the ladies’ intentions. We will not file
       charges, we fired him. Out of our jurisdiction. Yes, on the statements.”



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        200.    Another example from the emails shows that Krueger provided documents to a

reporter named Elliot Davis on December 15, 2014. Krueger references the documents given to

the reporter then states:

                Krueger: “I owe the official statement and will have it to you within
                the hour. The City Attorney felt my first pass was too ‘vanilla’ and
                wanted to craft a more pointed statement. Stay tuned”.

        201.    Pine Lawn officials went out of their way to craft statements from two women who

were with Blakeney on that particular evening, who later testified that Blakeney did absolutely

nothing wrong.

        202.    The Pine Lawn officials forwarded the internal investigation documents to the press

and email statements about the internal documents that knowingly gave the false impression that

Blakeney had committed criminal acts.

        203.    The Pine Lawn officials went out of their way to craft a statement that was not

“vanilla” to cause maximum damage to Blakeney. Blakeney was tried and convicted by Pine Lawn

in the press.

        204.    These false statements, as well as selective documents and reports, ended up being

sent to the F.B.I. and the U.S. Attorney’s office, to clearly influence their investigation. The overt

actions by Pine Lawn got the F.B.I. to go after Blakeney, the whistleblower that was reporting on

the numerous illegalities of the Pine Lawn officials and police officers.

        205.    During City Attorney Smith’s deposition, Smith denied any personal knowledge of

the press release sent by Pine Lawn to all major media outlets in St. Louis concerning Blakeney's

termination because he knew that the memo was fabricated. Smith testified:

                Q: Do you recall Brian Krueger disclosing a memo, internal memo,
                to the newspaper?

                A: Yes.

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               Q: Did you review that memo?

               A: No.

               Q: Did you okay the memo being turned over to the Post-Dispatch?

               A: No.

               Q: Do you know why the internal memo was turned over to the
               Post-Dispatch?

               A: I do not.

       206.    Emails show that Krueger originally authored the press release, but Smith re-wrote

the press release to make it stronger, because it was too "vanilla."

       207.    Emails between Smith and Krueger confirm that Smith authorized the press release

concerning Blakeney's termination, which was known to have false information to embarrass,

humiliate, and injure Blakeney. Krueger testified that:

               Q: There was a document you sent to the newspaper, do you recall
               that, for Blakeney, Blakeney’s deal?

               A: Yes.

               Q: Did Donnell Smith approve you sending that to the newspaper?

               A: Actually, he made it stronger.

               Q: What do you mean by that?

               A: He changed the language. He made it stronger.

       208.    Upon information and belief, Blakeney’s termination is the only time that Pine

Lawn ever commented to the press on a personnel matter, specifically a termination.

       209.    In addition, a copy of a newspaper article from May 30, 2013 regarding the

termination of Chief Collins provides a statement from a Pine Lawn spokesman that states: “As a

policy and as a city, we don’t comment on personnel issues.” See Exhibit 26.



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       210.    The overtime by Officer Rinck that was allegedly approved by Blakeney was, in

fact, never approved by Blakeney.

       211.    If Blakeney would have been allowed to review documents prior to, or at his

hearing, this erroneous allegation could have been corrected.

       212.    Blakeney was not allowed to have an attorney present at the hearing, as he requested

and as policy allows.

       213.    Officer Struckhoff signed the document approving the overtime. A copy of the

approval is attached as Exhibit 16.

       214.    Officer Struckhoff violated department policy approving Cpl. Rinck’s overtime. A

copy of the policy is attached as Exhibit 15.

       215.    In addition, because a higher-ranking supervisor was required to approve a line

supervisor’s overtime, the standing Order was that Sgt. Epps would approve a lower-ranking

supervisor’s requested overtime. Copies of the Police Department Orders are attached as Exhibit

15.

       216.    In fact, Sgt. Epps did approve the overtime but reported Blakeney as the approving

officer and recommended Blakeney’s termination to the Board of Alderman. LaShawn Colquitt,

assistant city manager, did the payroll and testified that Sgt. Epps provided payroll to her and Sgt.

Epps filled in the blanks approving overtime for police officers.

       217.    Blakeney had nothing to do with approval of overtime for this incident. In fact,

Blakeney had his duties pulled and couldn’t approve the overtime. In addition, even if Blakeney

had been somehow involved in the approval of overtime, Pine Lawn’s progressive discipline

policies would have covered the situation, and an oral reprimand, written reprimand, counseling




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level one or counseling level two would have been the required lock-step disciplinary action, not

termination. See Exhibit 21.

       218.    In addition, in a subsequent civil action filed by unrelated parties to this case, Sgt.

Epps provided deposition testimony about Blakeney.            Sgt. Epps testified that Blakeney’s

disciplinary issues in Pine Lawn only arose after Blakeney's "falling out with Mayor Caldwell"

after Caldwell was indicted by the U.S. Attorney's office. Sergeant Epps further testified that

Caldwell, before Blakeney's termination, held an unnoticed and unannounced Board meeting,

(which was unlawful), where Smith provided the Board of Alderman old and fabricated allegations

about Blakeney. Further, Caldwell ordered administrative staff, after being made aware that

Blakeney was cooperating with federal officials concerning his federal indictment and pursuing

state criminal charges on Krueger, to gather information from Blakeney's divorce proceedings,

from his ex-wife’s attorney, that were several years old at this point. Pine Lawn City Ordinance

prohibited these actions by Mayor Caldwell. Likewise, Assistant City Manager Colquitt testified

that the Mayor started obtaining Blakeney’s info after September 2014, which was after the

Mayor’s indictment and after he was informed of Blakeney’s involvement with providing

information to the FBI.

       219.    Blakeney’s discharge arose under circumstances that seriously damages his

reputation and his ability to obtain any other employment. False and stigmatizing statements were

made in connection with Blakeney’s discharge in public, without a meaningful opportunity for

Blakeney to clear his name. It is also likely that Blakeney will be unable to continue in this

profession in the future.

       220.    After Blakeney’s termination, Pine Lawn would not give him his final paycheck

unless he signed a Release of all claims against Pine Lawn. Blakeney refused to sign the Releases



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and Pine Lawn wouldn’t give him his check. After several days, Pine Lawn gave Blakeney his

final paycheck even though he wouldn’t sign the Release. Blakeney was not allowed to retrieve

his personal belongings.

       221.    After Blakeney’s termination, City Administrator Krueger was arrested and

terminated for stealing. The Missouri State Auditor’s office subsequently found misappropriated

funds from Pine Lawn.

       222.    After Blakeney’s termination, Gray was removed from his position as Director of

Public Safety and Chief of Police. After Blakeney’s termination, Mayor Caldwell pled guilty to

extortion and was sentenced to prison.

Actions of Pine Lawn Officials After Blakeney’s Termination.

       223.    Recently discovered deposition testimony and City of Pine Lawn emails, that were

produced in a different civil action against Pine Lawn, reveals acts of retaliation and discrimination

against Blakeney.

       224.    Deposition testimony indicates that Pine Lawn officials knew that releasing an

employee’s medical and personnel information to the public was illegal. However, Assistant City

Manager Colquitt and City Administrator Krueger’s city emails confirm that they both sent

Blakeney’s medical and personnel information to members of the public, including Blakeney's ex-

wife, under direct supervision of Mayor Caldwell.

       225.    These were blatant violations of law, including HIPPA violations. One of the

medical records obtained by Colquitt under directions of Caldwell, and released to the public, was

a document under seal by the Jefferson County Circuit Court.

       226.    The release of this sealed medical record to the public resulted in the medical

records being used against Blakeney in several subsequent civil and criminal proceedings.



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       227.    In addition, Officer Harmon obtained a closed police investigation report from the

City of St. Louis (the police report is stamped “for law enforcement only”) and Pine Lawn released

it to the press in violation of law. It was only to be used for “law enforcement” personnel, but it

was given to the press and reported on by major media outlets. Pine Lawn had investigated this

prior incident and received a “confidential” memo from the St. Louis County police department

that stated “[I]t is a closed report and will not be released. There was no criminal violation”. See

Exhibit 27.

       228.    Harmon’s signature shows that he obtained the report on November 21, 2014. The

investigation involved an untrue and unsubstantiated allegation and was closed without further

action. Officer Harmon signed his name to obtain a copy. A Pine Lawn official directed Officer

Harmon to obtain this information to give it to the press. The press reported the allegation as if it

was an ongoing criminal matter. Likewise, expunged investigations were placed in Blakeney’s

personnel file and then given to various parties, including the press and FBI. Pine Lawn went into

hyperdrive to disparage Blakeney.

       229.    Pine Lawn officials engaged in an information sharing agreement with Blakeney’s

ex-wife while Blakeney was seeking additional custody with his children. As stated previously,

deposition testimony given by Cpl. Struckhoff revealed that he did not verify Officer Rinck's

overtime request with Sgt. Epps before Cpl. Struckhoff approved Officer Rinck’s overtime, as

department policy required. The Officer that made the final approval of Officer Rinck’s overtime

on the payroll master sheet was actually Sgt Epps. Blakeney had no involvement with overtime

and it was Sgt. Epps who signed the approval forms.

       230.    Sgt. Epps was assigned to investigate Blakeney for allegedly approving the

improper overtime and Sgt. Epps then recommended Blakeney’s termination for approving the



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overtime. Sgt. Epps was promoted after Blakeney was terminated and moved into Blakeney's

office, and utilized Blakeney’s police vehicle that he had been allowed to take home, after

Blakeney's termination. Prior to Blakeney’s last promotion, Blakeney had been promoted over

Epps after Epps had been demoted and even disciplined by Blakeney.

       231.    Epps became the highest-ranking officer in the department after Blakeney’s

termination. Deposition testimony subsequently revealed that Officer Struckhoff had been trying

to "get Blakeney fired for any reason". During his deposition, Officer Struckhoff also admitted to

providing Blakeney's ex-wife various police department information about Blakeney with help

from city officials during Blakeney’s child custody hearings. Officer Struckhoff admitted that he

actually hand-delivered the personal documents to Blakeney’s ex-wife’s house. All of these

actions violated Pine Lawn’s own privacy policies and regulations concerning the release of these

various documents.

       232.    City Administrator Krueger also told Blakeney’s ex-wife’s attorney in a family law

matter, Melissa Featherston, that the police department officers at Pine Lawn altered Blakeney’s

confidential department drug tests from Concentra. This is totally untrue and false and defamatory.

Blakeney’s numerous drug test results were all negative.

       233.    Melissa Featherston told the family court Judge and GAL this statement came from

Krueger in Blakeney’s family law matter. This statement about Krueger falsely stating this to

Featherston and Featherston using it in court can be corroborated by Blakeney’s family law

attorney. City Administrator Krueger’s false and defamatory statements caused Blakeney to have

his custody with his kids limited. Blakeney suffered from severe emotional distress as a result of

the defamatory remarks.




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        234.     In addition, emails show that Blakeney’s ex-wife’s attorney gave Krueger a copy

of a drug test that was under seal in the court. The drug test was accompanied with an expert’s

opinion that it should not be utilized for numerous reasons. Thus, it was not utilized in court and

it was placed under seal because it was an invalid test. A copy of the Family Law Court’s Civil

Order is attached as Exhibit 28.

        235.     After Krueger obtained a copy of the drug test, he gave it to Michael Krupp, who

was Blakeney’s ex-wife’s boyfriend, without also providing the expert’s opinion that the test was

invalid and without providing the Court’s Order finding the drug test to be invalid (although Krupp

and Blakeney’s ex-wife knew that the drug test was under Court Ordered Seal because it was

invalid).

        236.     The invalid drug test was then given to the press who reported that Blakeney failed

a drug test, when he in fact, did not fail a drug test. This drug test has been referenced numerous

times in the media, and in subsequent civil claims against Pine Lawn and Blakeney, and in the

U.S. District Court during sentencing of Blakeney in the criminal matter (explained in greater

detail below).

        237.     The numerous other drug tests that were taken by Blakeney, showing negative

results, were not referenced in the press release. Blakeney was randomly and frequently drug

tested, and those tests were all negative.

        238.     There are multiple emails between City Administrator Krueger and Blakeney’s ex-

wife’s attorney and Blakeney’s ex-wife’s boyfriend providing personal information and false

accusations. These emails reveal an ongoing civil conspiracy to harm Blakeney.

        239.     Blakeney had a very contentious custody dispute and Pine Lawn’s actions directly

affected his custody of his sons. As early as September 10, 2014, when Blakeney was investigating



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Attorney Smith and City Administrator Krueger, Blakeney’s mail that was addressed to him was

being opened and reviewed prior to Blakeney looking at it.

       240.    Officer Struckhoff testified that he had also been given a copy of Blakeney's

personnel file by the assistant city administrator (Colquitt) to use to get Blakeney fired. Struckhoff

had previously been suspended and disciplined by Blakeney many times for policy violations and

was slated to be terminated at the time of Blakeney's termination. Officer Struckhoff also

authorized (against policy), by his signature, Officer Rinck’s overtime pay on November 4, 2014,

which Blakeney was terminated for approving. Struckhoff testified that he was “glad Blakeney

was in prison”. The many depositions taken of Pine Lawn officials and police officers yielded one

common fact: nobody ever witnessed Blakeney commit any illegal acts.

       241.    Additional deposition testimony taken in an unrelated civil action against Pine

Lawn revealed that City Attorney Smith, City Administrator Krueger, Mayor Caldwell, Sgt. Epps,

Cpl. Harmon, Officer Struckhoff, and Officer Rinck committed egregious acts of retaliation

against Blakeney that adversely affected Blakeney's employment.

       242.    The deposition testimony of Paul Rinck that was recently taken revealed outrageous

acts of witness tampering and acts of witness intimidation that were used to produce false evidence

against Blakeney, and to terminate his employment.

       243.    These recent depositions revealed that Sgt. Willie Epps (the investigator assigned

to investigate Blakeney by the effective Police Chief of Pine Lawn Anthony Gray) participated in

the conspiracy to oust Blakeney where he also tampered with witnesses and turn a "blind eye"

when Officer Rinck intimidated them.

       244.    This conduct directly affected Blakeney's employment and it was strictly prohibited

by department policy and internal procedures.



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       245.    Pine Lawn officials intentionally and willfully violated Blakeney's rights under the

Privacy Act of 1974, codified in Title 5, United States Code§ 552a(b), which restricts the

government's ability to discuss or disclose private information on its employees.

       246.    The release of Blakeney’s personnel records and closed investigative reports was

an invasion of privacy.

       247.    The release of personnel records has led to news reports making misleading and

speculative reports about Blakeney.

       248.    Blakeney’s reputation has been ruined and will never recover because of Pine

Lawn’s actions. Pine Lawn officials had never commented publicly on any personnel matter prior

to Blakeney's termination.

       249.    At the time of Blakeney's termination, Pine Lawn had a standing policy and

procedure that prohibited such disclosure, and prohibited comments about personnel matters.

News reports regarding the terminations of Chief Ricky Collins and City Administrator Krueger

(before and after Blakeney’s termination) quote various Pine Lawn officials confirming that Pine

Lawn’s policies prohibited speaking to the press about personnel decisions. In addition, Pine Lawn

had a long-standing policy to investigate any acts of retaliation against whistle-blowers.

Blakeney’s Criminal Indictment was effectuated by Pine Lawn Officials.

       250.    On July 30, 2015, a three count Indictment was returned by a federal grand jury

charging Blakeney with Conspiracy Against Rights in violation of 18 U.S.C. § 241 (Count 1),

Deprivation of Rights under Color of Law in violation of 18 U.S.C. § 242 (Count 2) and

Falsification of Records in violation of 18 U.S.C. § 1519 (Count 3). (Doc. 1).

       251.    The Indictment alleged that the victim, Nakisha Ford (“Ford”), was unlawfully

arrested for her disorderly conduct and theft. The Indictment alleged that Blakeney conspired to



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violate the Constitutional rights of Ford by causing her to be arrested based on false allegations

and without probable cause.

       252.    On August 4, 2015, Blakeney was arrested and appeared before the court. He was

released on a $20,000 bond and his arraignment was set for August 7, 2015. (Doc. 5).

       253.    Generally, it was alleged that Blakeney was involved in the false arrest of Ford

because she was a candidate running against Mayor Caldwell.

       254.    The government alleged that the owners of the Pine Lawn Market, made the

following false statements, at Blakeney’s request, during their interview, which were reduced to

writing: (i) that the Pine Lawn Market owner personally obtained the campaign sign from City

Hall; (ii) that Ford on a prior occasion had come into the store “talking bad stuff” about the mayor

and the police department; and (iii) that Ford had “ripped off the sign.”

       255.    According to the government’s case, the Pine Lawn Market owner contended that

he made these false statements at the behest of Caldwell and Blakeney. However, Blakeney did

not take their statements, another officer verified their statement with an employee of the Pine

Lawn Market, Director Gray made the decision to arrest Ford, and the Police Chief at the time,

Ricky Collins, stated that Blakeney actually argued against arresting Ford.

       256.    No “Warrant” was ever issued for Ford’s arrest and Officer Jesse Brock executed

Ford’s arrest based upon his own independent assessment that probable cause existed after Gray

told him to proceed.

       257.    Ford was lawfully arrested based on probable cause. Any one of a number of

witnesses could have come forward to negate the federal charges against Blakeney, including Pine

Lawn Prosecuting Attorney/Director Gray; Officer Struckhoff, Officer Jesse Brock, a police




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officer at PLPD who was involved with Ford’s arrest, and Mayor Caldwell, who apparently knew

of the facts of Ford’s arrest.

        258.    The City of Pine Lawn also failed to provide the following exculpatory and material

evidence to establish a viable defense against the Government’s case-in-chief: (1) 911 recording

of the Market’s Owner’s initial call to the PLPD to report Ford’s unauthorized removal of the

campaign sign depicting her in a mugshot from a previous arrest and her disorderly conduct while

removing the sign; (2) the security video of this conduct by Ford “inside” the PLM; (3) court

documents from Ford’s previous arrest to confirm that she was actually convicted for her behavior

in that prior incident depicted in the poster; and (4) original PLPD Incident Report # 13-1337,

which established that Blakeney never signed the police report as a supervising Officer and that

his purported stamped signature on the copy, which was produced after trial, was fabricated while

in the custody of the Pine Lawn Police Department.

        259.    Blakeney was not the signing supervisor officer and it could not be used to confer

Blakeney’s authority to arrest Ford.

(a). Anthony Gray:

        260.    Anthony Gray, who at the time was the Pine Lawn Prosecuting Attorney, would

have completely exonerated Blakeney had he come forward. Gray’s proposed testimony is

memorialized in a recent deposition taken on September 20 and 26, 2017, in the civil case of Lisa

Schweppe, et al. v. City of Pine Lawn, et al., Civil No. 4:16-cv—00253-JAR, where Blakeney was

dismissed with prejudice in U.S. District Court for the Eastern District of Missouri.

        261.    At the time of his deposition, Gray was still serving as Pine Lawn Prosecutor. Gray

discussed what occurred on March 31, 2013, when he arrived at the Pine Lawn Market. He testified

that he came to the scene after Blakeney called and told him that he needed “to take a look at a



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videotape…, showing Ford interacting with a store manager and removing a poster that had been

taped to the window of the store at that time…, campaign literature.”

       262.    Blakeney was present as he watched the video with Gray. Gray testified that prior

to that time, Blakeney did not tell Gray that he intended to arrest Ford. Gray testified that it was

not Blakeney who made the decision to arrest Ford; rather, PA Gray did so after considering the

evidence “because he thought the elements of theft were met when [he] saw the video.”

       263.    On the basis of this decision, PA Gray indicated that “if they wanted to arrest her

that day, [he] felt that it would be something that [he] would prosecute.” PA Gray was also present

when Ford was arrested at her residence. Finally, PA Gray testified that he had no basis to believe

that Blakeney lied at the time of Ford’s arrest or at any time after Ford’s arrest.

       264.    Again, Gray viewed the video tape of Ford in the Pine Lawn Market (“PLM”).

There was a newscast video, which shows Ford being arrested by officer Brock, after she allegedly

took a campaign sign from the Pine Lawn Market and denying that she took the sign.

       265.    During the newscast, Gray stated to the reporter that Ford’s denial of removing the

sign is in “stark contrast to the video evidence that I reviewed before I authorized the charges to

be filed against her”.

       266.    The fact that PA Gray’s statements on video and deposition testimony in the above-

referenced civil case that Gray made the decision to arrest Ford based on what he considered at

the time to be credible evidence to support the charges of theft and disorderly conduct, is probative

as to whether Blakeney should have been indicted and further prosecuted by the Government.

       267.    Gray’s deposition testimony is also probative as to the strength of the Government’s

evidence. PA Gray’s testimony would have further rebutted the Market owners’ trial testimony

(that their original statements provided to Officer Struckhoff implicating Ford for disorderly



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conduct and theft were false). PA Gray’s testimony would have shown that the Market owners’

statements to the police were not coerced by Blakeney.

       268.    Additionally, PA Gray’s testimony would have also rebutted the market owner’s

testimony at trial that the market owner knew Gray but did not talk to him. PA Gray interviewed

the store owner and the store owner told Gray “that Ford came into the PLM yelling and screaming

about the sign…” in a “slanderous” manner and that Mario “said the sign belonged to him and he

wanted to prosecute Ford.” Those statements to PA Gray were consistent with those he later gave

on video to Officer Struckhoff at the police station.

       (b). Officer Jesse Brock.

       269.    At trial, Officer Brock testified that he prepared the police report and that the

information in the report was given to him by Blakeney. However, April Brooks, a Pine Lawn

Market employee, provided Officer Brock with a verbal and written statement on March 31, 2013,

when Brock initially arrived long before Blakeney did. Specifically, in his Offense/Incident

Report, Officer Brock stated as follows:

               I spoke to a cashier identified as Brooks, April… who witnessed the
               whole occurrence as well. Brooks stated on March 31, 2013, at
               approximately 1200 hrs., a lady entered the business talking to M.
               Samad and threatening that if the sign wasn’t removed she was
               going to sue. Brooks stated the lady was very loud and she took the
               sign from the door and left.

       270.    Brock’s report further indicates that “Brooks completed a voluntary written

statement on scene (see attached).” This evidence indicates that Brooks provided her written

statement at the crime scene on March 31, 2013. This also established that there was a 911 call

placed by the Market owner to the police about Ford’s disorderly conduct when she entered the

store threatening to sue the Market in front of other customers, then independently decided to




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remove the campaign poster and took it with her. Again, Brooks’ written statement given to Officer

Brock provides as follows:

               At 12:00 noon on March 31, 2013 a lady came into the store talking
               to my boss about she is going to sue if he didn’t remove a paper that
               was posted on our door. The store was very busy. My boss said he
               wanted no problems. The lady was very loud and she removed the
               paper from the door. (Emphasis added).

       271.    Finally, Brooks told FBI agents that when “… Ford ripped the poster off the door

and left only a small piece taped to the door… [the Market owner] asked Ford to leave and may

have escorted her out of the store (as video depicts)…” and that “[the Market owner] came back

inside and called the police.” (emphasis added). In other words, [the Market owner] called 911

before Blakeney ever arrived on the scene.

       272.    It thus follows that this information Officer Brock received from the Market owner

and Market employee Brooks was solely based on Officer Brock’s independent investigation of

the incident he reported about before Blakeney’s shift even began, and more importantly, before

Blakeney arrived to work, because Blakeney worked the second shift and records show he reported

to work at approximately 4:00 p.m. Officer Brock lied on the witness stand and Blakeney was

wrongly convicted and spent almost two years in prison.

(c). Destroyed and Lost Evidence.

       273.    There is undeniable documentary evidence indicating Pine Lawn officials

destroyed evidence that would have acquitted Blakeney of the 2016 federal charges for which he

was convicted and imprisoned. Specifically, the DVD of Ford's actions inside the Pine Lawn

Market on March 31, 2013. This DVD led to Ford's state convictions. However, this same DVD

came up missing during Blakeney's federal trial for now-falsely arresting Ford in 2013. Sgt. Epps




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was the last officer to handle the DVD according to the evidence chain of custody sheet. A copy

of the evidence sheet is attached as Exhibit 29.

        274.    Pine Lawn failed to preserve and produce the DVD from the Pine Lawn Market

store. The video would have shown the events that occurred in the store that led to Ford’s arrest

and conviction in State court. The DVD of Ford inside the store taking the poster was going to be

used as evidence in the trial for the charges filed against Ford prior to her plea agreement with

Prosecutor/Director Gray. The DVD would have completely refuted the Federal Government’s

case against Blakeney. The evidence and witnesses referenced that the DVD existed but was not

available for use in the trial.

        275.    The FBI and U.S. Attorney's Office were given a draft police report concerning

Ford's arrest by Pine Lawn officials, and not the final approved police report. The police report

produced by Pine Lawn to prosecute Blakeney had Blakeney’s computer generated name in the

report as the approving officer.

        276.    The report was printed off the Pine Lawn computer on April 28, 2015. It was never

signed by Blakeney. In fact, the report had a computer-generated signature for Officer Brock, who

was the arresting officer.

        277.    In other words, the report given to the federal authorities wasn’t signed by Officer

Brock or Blakeney. Each arrest at Pine Lawn had its own separate file and the finalized official

police report would be contained within the arrest file.

        278.    To obtain a copy of the original police report, Pine Lawn would merely pull the file

and copy the original arrest report. Pine Lawn would not copy a draft of the report from the

computer and type the names of the officers on the report.




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        279.    The original arrest report that would be available for release would have the actual

signatures of the arresting officer and the approving officer. In 2015, when the FBI requested

Ford’s arrest report from Pine Lawn, Pine Lawn printed the police report from a computer with

the names of Officer Brock and Blakeney in the signature sections on the report.

        280.    This computer-generated report was then given to the U.S. attorney. The U.S.

Attorney then used this police report to argue that Blakeney was the approving officer over Ford’s

arrest, violating her civil rights.

        281.    The fact that an unsigned draft police report was released is an improper procedure,

in violation of policy, and something that had never been done in Blakeney’s entire history of

police work.

        282.    Blakeney attempted, through his attorneys, to obtain the original report of the Ford

arrest before trial. Pine Lawn would not release the report. After Blakeney's conviction, the original

2013 arrest report for Ford was obtained. The original report showed that Officer Brock did, in

fact, sign as the arresting officer. His signature is in the appropriate location on the report.

        283.    However, the report that was subsequently produced to Blakeney, had Blakeney’s

name forged on the original 2013 arrest report by use of a signature stamp. The stamp was used

on the report and there is no signature whatsoever on any of the supplemental arrest reports.

        284.    In other words, Pine Lawn did not produce the original report because the true

original report would have had an actual signature of the approving officer and not a stamped

signature of an officer.

        285.    The arrest report would not have gone years without getting approved by someone

who was a supervising officer (Sgt. Epps, Cpl. Harmon, Cpl. Struckhoff). Instead, someone at

Pine Lawn took Ford’s arrest report and whited out the approving officer name (whoever had



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originally signed the report), and used Blakeney’s signature stamp to place Blakeney’s name on

the report.

        286.   A signature stamp had never been used on a police report in the entire history of

Blakeney’s work as a police officer and during the entire history of police reports being made at

Pine Lawn. It violates policy, procedures and Orders.

        287.   In fact, the signature stamp on the police report makes it void. It is obvious why an

actual signature is required for an arrest report rather than use of a signature stamp, so officers

confirm the statements made in the report. Affidavits and letters from Lawrence Fleming, the

chief training instructor at the Southeast Missouri State police academy and the commander of

criminal investigations at Pine Lawn, and Chief Rickey Collins can confirm these statements.

        288.   Freedom of Information requests were sent to Pine Lawn to obtain other police

reports showing stamps were never used, but the requests for this information went unanswered.

        289.   In addition, a traffic warrant file for Ford came up missing as well during

Blakeney’s trial. This traffic warrant file contained a copy of a municipal arrest warrant for Ford

active on March 31, 2013, the day Ford was arrested. This would have acquitted Blakeney of

falsely arresting Ford. However, the warrant file is now missing in its entirety from the Pine Lawn

court's department. Someone at Pine Lawn acted unlawfully to frustrate Blakeney's ability to

prove himself innocent of the federal charges for which he was convicted and incarcerated. The

above unlawful acts occurred after Blakeney filed his initial lawsuit against Pine Lawn and its

officials for his unlawful and discriminatory termination.

        290.   Pine Lawn provided numerous documents to the F.B.I., including documents that

were not even requested by the F.B.I. Pine Lawn gave the F.B.I. “complaints and allegations

against Blakeney.” These were fabricated and/or investigated and found unwarranted.



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           291.   After deliberation, the jury returned a guilty verdict on all three counts. On October

6, 2016, the district court sentenced Blakeney to 51 months imprisonment. Blakeney began serving

time at FCI Loretto in December 2016, a higher-security prison, after being held at a maximum-

security penitentiary for a month. Blakeney was being targeted by inmates convicted of violent

crimes. Blakeney was attacked, beaten, strangled and assaulted, and eventually had to go to

solitary confinement for his safety.

MOPERM’s actions caused additional harm to Blakeney.

           292.   News reports, based on the Pine Lawn press releases and Pine Lawn’s release of

selective false information, were making Blakeney look like a terrible person and a bad police

officer.

           293.   The news reports also reported on the corruption at Pine Lawn (that Blakeney was

exposing), with ties to the false narrative being given by Pine Lawn officials about Blakeney.

           294.   Thereafter, numerous civil claims began to be asserted against Pine Lawn and

Blakeney by various individuals. There was a letter requesting settlement made by The Ryals Law

Firm, which represented 13 claimants.

           295.   These claims alleged that Pine Lawn, and Blakeney, violated their civil rights by

falsely “arresting” them. It was surprising to Blakeney that he had been named in the claims,

because he was not even an arresting or reporting officer at all but one of the incidents. At the one

incident where he was present, Blakeney was not an arresting officer.

           296.   Blakeney wasn’t even the Pine Lawn police department Chief or Commander at the

time of the Ryals’ claims incidents but was merely a line supervisor. Blakeney is confident, then

and now, that the police officers involved in these arrests would support their reports with

testimony that the statements in the reports are true, otherwise the officers would have written false



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reports. An internal investigation by Chief Collins cleared Blakeney and it was found that there

were no policies violated in the traffic stop or issuance of the ticket. This traffic ticket was issued

on June 23, 2011 and five years later, MOPERM paid KM $60,000 for Blakeney allegedly doing

something improper, without any investigation into the matter.

         297.   It is unknown what led Ryals to specifically name Blakeney in the claims, other

than the bad press that was being promulgated by Pine Lawn to tarnish Blakeney as a bad cop.

Information was given to the Ryals by Pine Lawn officials.

         298.   MOPERM knowingly hired an attorney, Mark Zoole (hereinafter referred to as

“Zoole”), to represent Blakeney in the defense of these Ryals’ claims against Blakeney. MOPERM

retained different attorneys to represent Blakeney and Pine Lawn because of the potential conflict

of interest between Pine Lawn and Blakeney.

         299.   At that time, Blakeney had a pending civil case against the City of Pine Lawn.

Zoole was a former City Attorney for Pine Lawn (prior to Smith). Even though there appeared to

be a clear conflict, Zoole continued to represent Blakeney. Blakeney did not discover this conflict

until much later and the conflict was never disclosed at the time of the representation.

         300.   Prior to Ryals filing any lawsuit, the parties attended a mediation. As Blakeney

entered the mediation offices, armed police were waiting and frisked him without his consent,

obviously with the intention to intimidate Blakeney.

         301.   Blakeney and Zoole were set apart in a different room from Pine Lawn’s

representative and its attorney as Blakeney had a pending action against Pine Lawn. Blakeney

was not given any information about the settlement negotiations and he was eventually told to

leave.




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        302.    Blakeney was later told that the case settled, but he was never given a copy of the

proposed Release before it was submitted to Ryals. Blakeney specifically asked Zoole for the

Release and Zoole refused to give it to him. Blakeney asked MOPERM for a copy of the Releases

and he received a letter from Leslie Weaver, a claims manager, (See Exhibit 30) stating that:

                 Resolution of all the other claims, prior to suit being filed, released
                 the city and all of its officials and employees including you. Since
                 suit was never filed and therefore, you were never named as a
                 defendant in those cases, you are not entitled to copies of the
                 settlement agreements.

                 You indicate you were not properly represented in these previous
                 matters, yet they have been resolved and your personal assets are
                 no longer exposed for any potential liability on your part.

        303.    At the time that the Release was executed, Blakeney had a civil claim pending

against Pine Lawn and its’ officials for what happened during his termination. It was surprising

that any money was paid to the claimants because most of them had extensive criminal

backgrounds.

        304.    In addition, any basic investigation into the Ryals’ claims would have revealed their

false allegations. Interviews of the arresting police officers and other police officers at the scene(s)

would have proven that the arrests were justified. A police officer would have stood by his police

report and the statements made in the report.

        305.    The claimants were not questioned or deposed when the allegations were clearly

false on their face. Apparently, none of this was done and Ryals’ clients were paid $1.3 million

by MOPERM. MOPERM relied on verbal unrecorded interviews of many of the Pine Lawn

officers who were involved in falsely accusing Blakeney of wrongdoing in the covert Board

meetings, and Pine Lawn police officers who were being investigated by Blakeney for illegal acts.




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The Pine Lawn representatives that gave statements to MOPERM representatives attempted to

equate Blakeney with the false claims made by Ryals’ clients.

          306.   Another wrongful termination case, Ricky Collins v. City of Pine Lawn, was also

subsequently filed against Pine Lawn and various Pine Lawn officials. Ricky Collins was the

former Pine Lawn Chief of Police before Blakeney became the Pine Lawn Police Department

Supervisor. Blakeney was a named witness in Ricky Collins’ civil lawsuit.

          307.   Surprisingly, MOPERM knowingly retained Zoole to represent one of the Pine

Lawn officials (City Administrator Krueger), who Blakeney named in his civil suit against the

City. At that time, correspondence was sent to Zoole and objections were made as to Zoole’s

conflict of interest, because Blakeney, at Zoole’s request, had already discussed much of what

happened to him during his termination when Zoole represented Blakeney during the Ryals’

claims.

          308.   During their discussions, Blakeney informed Zoole about the various incidents that

happened at Pine Lawn, including events that occurred with City Administrator Krueger, Zoole’s

client. A copy of correspondence to Zoole is attached as Exhibit 31.

          309.   The attorney for Pine Lawn was also informed of the conflict of interest with

Zoole’s representation, and the conflict of interest that arose with MOPERM adjusters. A copy of

the letter informing Pine Lawn’s attorney, and MOPERM representatives of the conflict of interest

is attached as Exhibit 32.

          310.   At a hearing in the Ricky Collins’ civil case, Zoole told the judge that he had no

conflict of interest.

          311.   After Blakeney’s Federal trial on Ford’s alleged false arrest charge, and after

Blakeney’s wrongful conviction Blakeney attended a sentencing hearing. During the sentencing



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hearing, The Ryals’ demand letter, with serious allegations, and the MOPERM Releases were

presented to the Judge by the U.S. Attorney’s office.        These documents were specifically

referenced by the Judge in sentencing Blakeney on the Federal criminal charges. The U.S.

Attorney confirmed that he received the Ryals’ settlement demand letter and MOPERM Releases

from Pine Lawn. A copy of the email from the U.S. Attorney is attached as Exhibit 33.

       312.     The U.S. Attorney provided copies of MOPERM’s Releases of the Ryals’ claimants

to Blakeney’s criminal attorney.

       313.     When the Ryals’ settlement demand letter is compared to the statements made in

the MOPERM Releases, it makes it look like Blakeney was directly involved in these incidents,

when he was not the arresting officer or the officer in charge of the arrest. Each Ryals’ claimant

falsely alleged what happened during their arrest and merely inserted Blakeney’s name as the

officer who did the things that they claim. The Release merely restated the false claims, including

Blakeney’s name as the officer who did the bad things that are being claimed.

       314.     For example, each separate Release for each claimant states that the particular

“claimant has asserted claims against the Defendant (defined earlier in the Release as the “City of

Pine Lawn”) arising from an incident and interaction with former Pine Lawn Officer Steven

Blakeney aka Steve Blakeney occurring in the City of Pine Lawn in [A Specific Date of each

Incident was inserted in the separate releases]”. This language makes it appear that Blakeney was

involved in these incidents because it specifically named “Steve Blakeney” and a specific date for

the incident.

       315.     None of these assertions that a claim arose from an incident or interaction with

Blakeney are true. No other officer was specifically named in any of the Releases. Because Ryals

named Blakeney in his settlement demand letter, (because of the Pine Lawn press releases and



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because of Pine Lawn officials providing false information to Ryals), MOPERM specifically

named Blakeney in the Releases as the officer involved in the incidents with the claimants.

       316.    MOPERM did this even though Blakeney told his MOPERM appointed attorney

that he was not involved in these incidents. An elementary investigation, and interviews with the

arresting officers and approving officers, and review of the arrest reports, and Blakeney’s own

statement to his attorney, would have revealed Blakeney’s non-involvement with the claims.

       317.    Each Release also states that: “Whereas, while Blakeney is not a party to this

Agreement, he is fully released hereunder as more particularly set forth below”. The signatures

on each Release are the claimant and the Acting Mayor for Pine Lawn. Blakeney had not even

seen the Releases until he was being sentenced in the criminal case. Again, the settlement demand

and the Releases were used against him at his sentencing hearing and cited specifically by the

Judge while giving Blakeney his sentence.

       318.    The news then ran articles and newscasts that stated Pine Lawn had to settle

numerous civil rights violation cases because of Blakeney. See Exhibit 34, which include copies

of some of the articles. None of this was true but was instigated by Pine Lawn and MOPERM.

       319.    Again, these documents were provided to the US Attorney’s office by Pine Lawn

officials, who were taking an active and aggressive role in Blakeney’s prosecution and sentencing.

Exhibit 33.

       320.    The Judge in the Federal criminal case was informed that Pine Lawn had to pay

$1.3 million in settlements because of Blakeney’s violations of Pine Lawn citizens’ civil rights.

See the F.B.I. Memorandum documenting the U.S. Attorney indicating the Judge’s use of the

Ryals’ settlement demand and MOPERM releases during sentencing attached as Exhibit 35.




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       321.    The Judge in the case used the documents to increase Blakeney’s sentence. See

Exhibit 35. MOPERM’s executive director, Larry Weber, was quoted in the River Front Times

newspaper as “there was plenty of evidence to justify paying out the claims and the fund conducted

a defense to the full extent of the law”. No investigation was done into the Ryals’ claims.

       322.    The Ryals’ claim letter was given to the U.S. Attorney prior to any federal

indictment of Blakeney in Ford’s false arrest case.         Pine Lawn officials, and MOPERM

representatives, used the Ryals’ claims and subsequent settlement language to get the FBI to go

after Blakeney for any violation that they could allege against him, including the false claims

alleged by the Ryals’ claimants. Blakeney’s name, without his knowledge or consent, was placed

in the Releases as the individual that committed the acts alleged in Ryals’ settlement demand letter,

which wasn’t true. Both the Ryals letter and the Releases were given to the press and the news

reports stated that Pine Lawn had to settle the civil rights cases because of Blakeney’s actions.

MOPERM had a direct link in assisting Pine Lawn with its efforts to obliviate Blakeney’s name

and his father and sons’ names. After Blakeney was convicted, Blakeney had to dismiss his civil

case, without prejudice, because he was going to prison. This assisted MOPERM in getting rid of

Blakeney’s initial lawsuit that very well could have ended favorably for Blakeney in either

settlement of judgment. Pine Lawn and Pine Lawn officials and MOPERM representatives

attempted to subvert justice in a civil conspiracy.

       323.    Likewise, the two women who were with Blakeney on the night that Krueger and

Smith (and likely Mayor Caldwell), alleged that Blakeney drugged and raped the women in a

public release to the media, filed a civil complaint against Pine Lawn and Blakeney.




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        324.    Blakeney tendered the defense of the complaint to MOPERM because the

complaint specifically alleged that Blakeney was acting under color of law when he allegedly

violated their civil rights.

        325.    Surprisingly, MOPERM denied his defense and did not provide him with an

attorney, even though coverage should have been given based on the face of the complaint.

MOPERM cited to a case where they were able to deny a police officer a defense after they filed

a declaratory judgment action.

        326.    There was never a declaratory judgment action filed after Blakeney tendered the

defense to MOPERM. The face of the complaint, as well as other facts clearly evidence coverage.

        327.    As a matter of law, MOPERM wrongfully denied Blakeney’s tender of defense and

Blakeney remained unrepresented throughout the civil case. Specifically, the letter from Lesley

Weaver, claims manager for MOPERM, (See Exhibit 30) states:

                You were not in your jurisdiction, on duty or in uniform at the time
                of the alleged incident that this cause of action stems from. Missouri
                court decisions have established that the MOPERM policy does not
                cover actions taken by an employee that were not undertaken in
                furtherance of the interests of the employer. I have attached a copy
                of the Missouri Court of Appeals decision in MOPERM v. S.M., et.
                al., for you review.

                Therefore, there is no coverage under the city’s liability policy with
                MOPERM since you were not acting within the course and scope of
                your duties as a police officer for the City of Pine Lawn.

        328.    MOPERM settled the case filed by these two women, which again created more

bad press for Blakeney, even though he did absolutely nothing wrong. It is surprising because the

women testified that they had no knowledge of any “drugging,” and they agreed that Blakeney did

not have sex with them and did not assault them.




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       329.    The women chose not to have any rape kit taken, and neither reported any incident

to the police for investigation.

       330.    One of the women, a police detective in another jurisdiction, actually performed

her own investigation and reviewed the tape recordings inside the bar where the women were with

Blakeney and concluded that no criminal offense occurred. She testified that she did not see any

drugs placed in their drinks and did not request that the bar preserve the video.

       331.    Thus, there was no drugging and raping of women, as was falsely written up by

Pine Lawn officials, and wrongly released to all St. Louis news stations by Pine Lawn. The women

also testified that they had been drinking all night, including 8 hours before they even met

Blakeney at 12 midnight, and they couldn’t remember what happened most of the night.

       332.    The women didn’t even approach Pine Lawn to make a complaint against Blakeney,

until Officer Rinck told one of the women, who also happened to be Rinck’s friend, that he was

going to be fired for falsely submitting an overtime request for picking up the women from

Blakeney’s house.

       333.    The statement from one of the women was not written by her or signed by her (it is

unknown at this time who signed the statement using her signature). One of the women admitted

that the statement was untrue because she couldn’t recall what happened. Both women testified

that the statements contained in the civil complaint filed by their attorneys, Arch City Defenders,

against Pine Lawn and Blakeney contained erroneous information.

       334.    However, the women filed their civil complaint against Pine Lawn and Blakeney,

even though their testimony revealed nothing improper took place.

       335.    The extent of the emails between one of the women and Officer Rinck show that

the women and Rinck were friends and communicated on a regular basis. However, Officer Rinck



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wrote a false memorandum for the investigation declaring that he did not communicate with the

women. For example, one email conversation that occurred on November 22, 2014 between Rinck

and one of the women, before the two women signed their statements, stated:

               Rinck: Thank you. Due to him making me do that the city is looking
               at me for stealing time.

               The Woman: I will do whatever to help u because u didn’t do
               anything wrong. Because he ordered u to do it.

       336.    The complaint that was filed by these two women, based on Pine Lawn Officials’

misinformation, was referenced in Blakeney’s criminal PSIR and used for increased punishment

during sentencing and placement into the Bureau of Prisons.

       337.    Because of the allegations in the PSIR, Blakeney was sentenced to a higher security

prison and was extensively assaulted, strangled and beaten. Blakeney had to enter solitary

confinement to avoid being killed.

       338.    MOPERM settled this case by paying the women $500,000, for clearly false claims.

This was paid by MOPERM even though Pine Lawn and Blakeney had both filed Motions for

Summary Judgment on the basis of the testimony from the two women. The settlement for these

women was ridiculous and had no merit whatsoever.

       339.    There can be no reasonable argument to have paid these women any money for

their false claims. Of course, the settlement in the case, where Blakeney was an unrepresented

party where he clearly should have had counsel appointed to him, was picked up by the newspapers

and Blakeney was again falsely accused in the media of these untrue allegations.

       340.    This all occurred at the behest of Pine Lawn officials, working concurrently with

MOPERM representatives. MOPERM’s policies, procedures, and regulations were disregarded

in the settlement of the cases.



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          341.   MOPERM failed Blakeney (who was a beneficiary of the policies), by failing to

investigate the many untrue civil claims and MOPERM played a role in assisting Pine Lawn in

diverting the F.B.I. from the illegal acts of Pine Lawn officials, and instead focus them on the

whistle blows of their illegal actions.

Summary

          342.   Blakeney spent approximately two years in prison and is still on house arrest as a

result of this erroneous conviction that Pine Lawn officials procured by destroying and altering

exculpatory evidence.

          343.   Blakeney was unable to see his two boys as Blakeney’s ex-wife modified his

custody/visitation rights. His children were devasted, missed their father, and were bullied at

school and continuously harassed about their father’s incarceration and defaming and vindictive

press releases made by Pine Lawn on major media outlets.

          344.   Blakeney’s children have had to endure constant therapy for their loss. Blakeney,

was beaten, strangled, and assaulted while in prison, initially being assigned to a higher security

prison.

          345.   Blakeney was transferred to several prisons and was placed into solitary

confinement to avoid being killed. He has been released, but under court supervision. Blakeney’s

actions are being monitored for the next three years.

          346.   Blakeney’s’ freedom is still severely limited. Blakeney’s criminal record now

contains two civil rights felony convictions and a misdemeanor illegal arrest conviction, so it will

be unlikely, if not impossible, to obtain a decent job and housing to support himself and his

children.




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       347.    Blakeney certainly can never be a police officer again because of these convictions.

Blakeney further suffers from PTSD from termination and the abuse he underwent in prison. His

anxiety has increased substantially following his conviction, sentence, and transfer to prison.

       348.    Pine Lawn officials willfully and intentionally violated twenty-four policies,

procedures, and established City Ordinances by terminating Blakeney, then began a media

campaign against Blakeney to humiliate him. Blakeney was wrongfully terminated. Pine Lawn

retaliated against Blakeney in discharging him. Blakeney’s numerous constitutional rights were

violated. MOPERM was an active participant in a civil conspiracy against Blakeney.

                      COUNT I – Missouri Common Law Whistleblower
                                  vs. City of Pine Lawn

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count I of his Petition against Defendant, City of Pine Lawn

(hereafter referred to as “Pine Lawn”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count I, Plaintiff

realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of the

Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       349.    Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

       350.    Pine Lawn has procured liability insurance that would provide coverage for

retaliatory discharge claims brought against them.

       351.    As a result of Pine Lawn’s retaliatory discharge of Blakeney, he is entitled to his

past and future lost earnings and benefits.

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          352.   As a result of Pine Lawn’s retaliatory discharge of Blakeney, he was caused to

suffer severe emotional distress which will continue into the future.

          353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Pine Lawn’s actions.

          WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award

costs of suit.

Plaintiff Demands Trial by Jury.

      COUNT II – Missouri Common Law Retaliation - Violation of State Constitution
                              vs. City of Pine Lawn

          NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for Count

II of his Petition against Defendant, City of Pine Lawn (hereafter referred to as “Pine Lawn”),

states:

          1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count II, Plaintiff

realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of the

Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          349.   Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

          350.   Pine Lawn has procured liability insurance that would provide coverage for the

allegations contained in Count II.

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           351.   As a result of Pine Lawn’s discharge of Blakeney, he is entitled to his past and

future lost earnings and benefits.

           352.   As a result of Pine Lawn’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

           353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Pine Lawn’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

             COUNT III – Missouri Common Law Retaliation – Acting as a Witness
                                   vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count III of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count III,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.




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           350.   Pine Lawn has procured liability insurance that would provide coverage for this

claim brought against it.

           351.   As a result of Pine Lawn’s retaliatory discharge of Blakeney, he is entitled to his

past and future lost earnings and benefits.

           352.   As a result of Pine Lawn’s retaliatory discharge of Blakeney, he was caused to

suffer severe emotional distress which will continue into the future.

           353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Pine Lawn’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                                COUNT IV – Missouri Common Law
                                     vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count IV of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count IV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Brian Krueger is the agent for Pine Lawn and Pine Lawn is responsible for his

actions of releasing Blakeney’s personnel records to the public.

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           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                      COUNT V – Intentional Infliction of Emotional Distress
                                    vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count V of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”) states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count V, Plaintiff

realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of the

Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Brian Krueger is the agent for Pine Lawn and Pine Lawn is responsible for his

actions for the infliction of emotional distress.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Pine Lawn, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

            COUNT VI – Violation of U.S. Constitution (§1983) – Right to Free Speech
                                    vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton




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of Brunton Law Offices, P.C., and for Count VI of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count VI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         349.   Blakeney also talked to the press about many of the aforementioned allegations.

         350.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         351.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

         352.   Pine Lawn has no compelling interest that overrides the employee’s rights.

         353.   Pine Lawn has procured liability insurance that would provide coverage for this

claim.

         354.   As a result of Pine Lawn’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

         355.   As a result of Pine Lawn’s actions, he was caused to suffer severe emotional distress

which will continue into the future.

         356.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Pine Lawn’s actions.




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           357.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                    COUNT VII – Violation of Federal Constitution (§1983) –
                             Right to Freedom of Association
                                   vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count VII of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count VII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Blakeney also talked to the press about many of the aforementioned allegations.

           350.   Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.

           351.   The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.



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           352.   Pine Lawn has no compelling interest that overrides the employee’s rights.

           353.   Pine Lawn has procured liability insurance that would provide coverage for this

claim.

           354.   As a result of Pine Lawn’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

           355.   As a result of Pine Lawn’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.

           356.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Pine Lawn’s actions.

           357.   Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

  COUNT VIII – Violation of U.S. Constitution (§1983)- Right to Procedural Due Process
                                 vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count VIII of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count VIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of




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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          349.    Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the City of Pine Lawn to provide process before disciplinary action can be taken against

Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

          350.    Blakeney had an expectancy of continued employment.

          351.    A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

          352.    Blakeney was never provided notice for his discipline.

          353.    Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

          354.    Blakeney never had opportunity to rebut the reason for termination.

          355.    There existed a statute, ordinance and operations manual that required just cause

for discipline.

          356.    Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          357.    Blakeney was denied his constitutional right of due process by the City of Pine

Lawn, as provided to him by the United States Constitution, Fourteenth Amendment. U.S. Const.,

Amend. XIV.




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           358.   Pine Lawn has procured liability insurance that would provide coverage for this

claim.

           359.   As a result of Pine Lawn’s actions/inactions, Blakeney is entitled to his past and

future lost earnings and benefits.

           360.   As a result of Pine Lawn’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.

           361.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Pine Lawn’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

             COUNT IX – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                                 Right to Equal Protection
                                   vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count IX of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count IX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Blakeney was white and/or Caucasian.



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           350.   Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

           351.   Pine Lawn has procured liability insurance that would provide coverage for this

 claim.

           352.   As a result of Pine Lawn’s actions, Blakeney is entitled to his past and future lost

 earnings and benefits.

           353.   As a result of Pine Lawn’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

           354.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Pine Lawn’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                                COUNT X Violation of 42 USC §1981
                                     vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count X of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:




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           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count X, Plaintiff

realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of the

Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Blakeney had an employment relationship and/or contract with Pine Lawn.

           350.   Blakeney was treated differently than others in the same or similar situation, and

Pine Lawn discriminated against him in the enforcement and termination of his employment

contract in violation of 42 U.S.C. §1981.

           351.   The discriminatory treatment was intentional.

           352.   As a result of Pine Lawn’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

           353.   As a result of Pine Lawn’s actions, Blakeney suffered from emotional distress.

           354.   As a result of Pine Lawn’s actions, Blakeney sustained other incidental and

consequential damages.

           355.   As a result of Pine Lawn’s actions, Blakeney is entitled to attorney’s fees and costs.

           356.   There is insurance coverage for this claim.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                       COUNT XI - Violation of Privacy Act 5 USC §552a(b)
                                    vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

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of Brunton Law Offices, P.C., and for Count XI of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Pine Lawn violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

           350.   Pine Lawn has provided insurance coverage that would provide coverage for this

claim.

           351.   As a result of Pine Lawn’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

           352.   As a result of Pine Lawn’s actions, Blakeney suffered from emotional distress.

           353.   As a result of Pine Lawn’s actions, Blakeney sustained other incidental and

consequential damages.

           354.   As a result of Pine Lawn’s actions, Blakeney is entitled to attorney’s fees and costs.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, City of Pine Lawn, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                                   COUNT XII – Abuse of Process
                                      vs. City of Pine Lawn

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

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of Brunton Law Offices, P.C., and for Count XII of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       349.    Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

       350.    Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

       351.    The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the City of Pine Lawn in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury


                             COUNT XIII – Malicious Prosecution
                                  vs. City of Pine Lawn

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XIII of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of



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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.   There was a commencement of a judicial proceeding against Blakeney;

        350.   The defendant instigation the suit through his/her actions and inactions;

        351.   The proceeding will be terminated in plaintiff’s favor;

        352.   There was an absence of probable cause for the suit;

        353.   The defendant had malice in instituting the suit; and

        354.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the City of Pine Lawn in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                COUNT XIV – Invasion of Privacy—Intrusion upon Selection
                                vs. City of Pine Lawn

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XIV of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.   There existed private and secret subject matter including Blakeney’s medical

records and personnel file;


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       350.    Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       351.    As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the City of Pine Lawn in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
               COUNT XV – Invasion of Privacy—Publication of Private Facts
                                vs. City of Pine Lawn

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XV of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       349.    The defendant published orally and in writing the information to third parties about

Blakeney,

       350.    Blakeney did not waive or consent to the publication,

       351.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       352.    The aforementioned publication was designed to embarrass Blakeney.




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       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the City of Pine Lawn in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                           COUNT XVI –Whistle Blower Act (2017)
                                  vs. City of Pine Lawn

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XVI of his Petition against Defendant, City of Pine

Lawn (hereafter referred to as “Pine Lawn”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       349.    Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The City of Pine Lawn and its officials;

       350.    Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

       351.    Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the City of Pine Lawn in an amount in excess of $25,000.00 and award costs of suit.

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Plaintiff Demands Trial by Jury
                     COUNT XVII – Missouri Common Law Whistleblower
                                  vs. Sylvester Caldwell

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XVII of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.     Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

        350.     Caldwell has procured liability insurance that would provide coverage for

retaliatory discharge claims brought against them.

        351.     As a result of Caldwell’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

        352.     As a result of Caldwell’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

        353.     Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Caldwell’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award

costs of suit.


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Plaintiff Demands Trial by Jury.

   COUNT XVIII – Missouri Common Law Retaliation - Violation of State Constitution
                             vs. Sylvester Caldwell

          NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for Count

XVIII of his Petition against Defendant, Sylvester Caldwell (hereafter referred to as “Caldwell”),

states:

          1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          354.   Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

          355.   Caldwell has procured liability insurance that would provide coverage for the

allegations contained in Count II.

          356.   As a result of Caldwell’s discharge of Blakeney, he is entitled to his past and future

lost earnings and benefits.

          357.   As a result of Caldwell’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

          358.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Caldwell’s actions.




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           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

             COUNT XIX – Missouri Common Law Retaliation – Acting as a Witness
                                  vs. Sylvester Caldwell

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XIX of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           354.   Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.

           355.   Caldwell has procured liability insurance that would provide coverage for this claim

brought against it.

           356.   As a result of Caldwell’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

           357.   As a result of Caldwell’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.




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           358.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Caldwell’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                               COUNT XX – Missouri Common Law
                                    vs. Sylvester Caldwell

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XX of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           350.   Brian Krueger is the agent for Caldwell and Caldwell is responsible for his actions

of releasing Blakeney’s personnel records to the public.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                    COUNT XXI – Intentional Infliction of Emotional Distress
                                   vs. Sylvester Caldwell



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       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXI of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”) states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       350.    Brian Krueger is the agent for Caldwell and Caldwell is responsible for his actions

for the infliction of emotional distress.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Caldwell, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

       COUNT XXII – Violation of U.S. Constitution (§1983) – Right to Free Speech
                               vs. Sylvester Caldwell

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXII of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       358.    Blakeney also talked to the press about many of the aforementioned allegations.

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           359.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

           360.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

           361.   Caldwell has no compelling interest that overrides the employee’s rights.

           362.   Caldwell has procured liability insurance that would provide coverage for this

claim.

           363.   As a result of Caldwell’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

           364.   As a result of Caldwell’s actions, he was caused to suffer severe emotional distress

which will continue into the future.

           365.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Caldwell’s actions.

           366.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                   COUNT XXIII – Violation of Federal Constitution (§1983) –
                             Right to Freedom of Association
                                  vs. Sylvester Caldwell



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         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXIII of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         358.   Blakeney also talked to the press about many of the aforementioned allegations.

         359.   Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.

         360.   The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

         361.   Caldwell has no compelling interest that overrides the employee’s rights.

         362.   Caldwell has procured liability insurance that would provide coverage for this

claim.

         363.   As a result of Caldwell’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

         364.   As a result of Caldwell’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.




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           365.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Caldwell’s actions.

           366.   Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

 COUNT XXIV – Violation of U.S. Constitution (§1983)- Right to Procedural Due Process
                               vs. Sylvester Caldwell

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXIV of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           362.   Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the Sylvester Caldwell to provide process before disciplinary action can be taken against

Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

           363.   Blakeney had an expectancy of continued employment.




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          364.    A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

          365.    Blakeney was never provided notice for his discipline.

          366.    Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

          367.    Blakeney never had opportunity to rebut the reason for termination.

          368.    There existed a statute, ordinance and operations manual that required just cause

for discipline.

          369.    Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          370.    Blakeney was denied his constitutional right of due process by the Sylvester

Caldwell, as provided to him by the United States Constitution, Fourteenth Amendment. U.S.

Const., Amend. XIV.

          371.    Caldwell has procured liability insurance that would provide coverage for this

claim.

          372.    As a result of Caldwell’s actions/inactions, Blakeney is entitled to his past and

future lost earnings and benefits.

          373.    As a result of Caldwell’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.

          374.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Caldwell’s actions.



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           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

            COUNT XXV – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                                Right to Equal Protection
                                  vs. Sylvester Caldwell

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXV of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           355.   Blakeney was white and/or Caucasian.

           356.   Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

           357.   Caldwell has procured liability insurance that would provide coverage for this

 claim.




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           358.   As a result of Caldwell’s actions, Blakeney is entitled to his past and future lost

 earnings and benefits.

           359.   As a result of Caldwell’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

           360.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Caldwell’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                             COUNT XXVI Violation of 42 USC §1981
                                    vs. Sylvester Caldwell

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXVI of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           357.   Blakeney had an employment relationship and/or contract with Caldwell.

           358.   Blakeney was treated differently than others in the same or similar situation, and

Caldwell discriminated against him in the enforcement and termination of his employment contract

in violation of 42 U.S.C. §1981.

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           359.   The discriminatory treatment was intentional.

           360.   As a result of Caldwell’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

           361.   As a result of Caldwell’s actions, Blakeney suffered from emotional distress.

           362.   As a result of Caldwell’s actions, Blakeney sustained other incidental and

consequential damages.

           363.   As a result of Caldwell’s actions, Blakeney is entitled to attorney’s fees and costs.

           364.   There is insurance coverage for this claim.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                    COUNT XXVII - Violation of Privacy Act 5 USC §552a(b)
                                  vs. Sylvester Caldwell

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXVII of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           355.   Caldwell violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

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           356.   Caldwell has provided insurance coverage that would provide coverage for this

claim.

           357.   As a result of Caldwell’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

           358.   As a result of Caldwell’s actions, Blakeney suffered from emotional distress.

           359.   As a result of Caldwell’s actions, Blakeney sustained other incidental and

consequential damages.

           360.   As a result of Caldwell’s actions, Blakeney is entitled to attorney’s fees and costs.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

 Plaintiff Demands Trial by Jury.

                                 COUNT XXVIII – Abuse of Process
                                     vs. Sylvester Caldwell

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXVIII of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           352.   Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

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        353.   Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

        354.   The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Sylvester Caldwell in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                            COUNT XXIX – Malicious Prosecution
                                  vs. Sylvester Caldwell

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXIX of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        355.   There was a commencement of a judicial proceeding against Blakeney;

        356.   The defendant instigation the suit through his/her actions and inactions;

        357.   The proceeding will be terminated in plaintiff’s favor;

        358.   There was an absence of probable cause for the suit;

        359.   The defendant had malice in instituting the suit; and

        360.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.


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       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Sylvester Caldwell in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
               COUNT XXX – Invasion of Privacy—Intrusion upon Selection
                               vs. Sylvester Caldwell

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXX of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       352.    There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

       353.    Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       354.    As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Sylvester Caldwell in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
              COUNT XXXI – Invasion of Privacy—Publication of Private Facts
                                vs. Sylvester Caldwell




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       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXXI of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       353.    The defendant published orally and in writing the information to third parties about

Blakeney,

       354.    Blakeney did not waive or consent to the publication,

       355.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       356.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Sylvester Caldwell in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                         COUNT XXXII – Whistle Blower Act (2017)
                                vs. Sylvester Caldwell

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXXII of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:



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       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       352.    Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The Sylvester Caldwell and its officials;

       353.    Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

       354.    Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Sylvester Caldwell in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

          COUNT XXXIII – Intentional Interference with Economic Relationship
                               vs. Sylvester Caldwell

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXXIII of his Petition against Defendant, Sylvester

Caldwell (hereafter referred to as “Caldwell”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.    Sylvester Caldwell was the mayor of Pine Lawn and a supervisor for the City of

Pine Lawn Police Department, and a supervisor of Blakeney.

        350.    Blakeney had a valid employment relationship with Pine Lawn and an expectance

of continued employment with Pine Lawn.

        351.    Caldwell had knowledge of the aforementioned relationship and expectance.

        352.    Blakeney was able to perform his job duties in a satisfactory manner.

        353.    Caldwell, in his individual unofficial capacity, intentionally and wrongfully

interfered with Blakeney’s economic relationship and expectancy of continued employment,

without justification or excuse, that he had through his employment with City of Pine Lawn Police

Department by wrongfully terminating Blakeney.

        354.    Caldwell, in his individual unofficial capacity, acted maliciously with personal

animosity against Blakeney and Caldwell acted for his own personal interests contrary to those of

the police department and used improper means to further his own interests, when he terminated

Blakeney’s employment or caused Blakeney’s employment to be terminated through his actions.

        355.    As a proximate result of Caldwell’s intentional interference with his business

relationship, Blakeney lost wages and fringe benefits and will continue to lose wages and fringe

benefits in the future.

        356.    As a proximate result of Caldwell’s intentional interference with his business

relationship, Blakeney is entitled to other incidental and consequential damages sustained by him.

        357.    As a proximate result of Caldwell’s intentional interference with his business

relationship, Blakeney sustained severe emotional distress.



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           358.   Blakeney is also entitled to punitive damages as a result of Caldwell’s intentional

interference with business relationship.

           359.   There is insurance coverage for this claim.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Sylvester Caldwell, in an amount in excess of $25,000.00 and award costs

of suit.

           Plaintiff demands Trial by Jury.

                    COUNT XXXIV – Missouri Common Law Whistleblower
                                  vs. Brian Krueger

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXXIV of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

           350.   Krueger has procured liability insurance that would provide coverage for retaliatory

discharge claims brought against them.

           351.   As a result of Krueger’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.




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           352.   As a result of Krueger’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

           353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Krueger’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

   COUNT XXXV – Missouri Common Law Retaliation - Violation of State Constitution
                             vs. Brian Krueger

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for Count

XXXV of his Petition against Defendant, Brian Krueger (hereafter referred to as “Krueger”),

states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           359.   Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

           360.   Krueger has procured liability insurance that would provide coverage for the

allegations contained in Count II.

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        361.   As a result of Krueger’s discharge of Blakeney, he is entitled to his past and future

lost earnings and benefits.

        362.   As a result of Krueger’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

        363.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Krueger’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

        COUNT XXXVI – Missouri Common Law Retaliation – Acting as a Witness
                               vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXXVI of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        359.   Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.




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        360.   Krueger has procured liability insurance that would provide coverage for this claim

brought against it.

        361.   As a result of Krueger’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

        362.   As a result of Krueger’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

        363.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Krueger’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                          COUNT XXXVII – Missouri Common Law
                                  vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXXVII of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        351.   Brian Krueger is the agent for Krueger and Krueger is responsible for his actions

of releasing Blakeney’s personnel records to the public.

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         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                COUNT XXXVIII – Intentional Infliction of Emotional Distress
                                  vs. Brian Krueger

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XXXVIII of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”) states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         351.   Brian Krueger is the agent for Krueger and Krueger is responsible for his actions

for the infliction of emotional distress.

         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Krueger, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

        COUNT XXXIX – Violation of U.S. Constitution (§1983) – Right to Free Speech
                                  vs. Brian Krueger

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton




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of Brunton Law Offices, P.C., and for Count XXXIX of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XXXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         367.   Blakeney also talked to the press about many of the aforementioned allegations.

         368.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         369.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

         370.   Krueger has no compelling interest that overrides the employee’s rights.

         371.   Krueger has procured liability insurance that would provide coverage for this claim.

         372.   As a result of Krueger’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

         373.   As a result of Krueger’s actions, he was caused to suffer severe emotional distress

which will continue into the future.

         374.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Krueger’s actions.

         375.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.



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        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                  COUNT XL – Violation of Federal Constitution (§1983) –
                           Right to Freedom of Association
                                  vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XL of his Petition against Defendant, Brian Krueger

(hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XL,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        367.   Blakeney also talked to the press about many of the aforementioned allegations.

        368.   Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.

        369.   The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

        370.   Krueger has no compelling interest that overrides the employee’s rights.

        371.   Krueger has procured liability insurance that would provide coverage for this claim.



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        372.   As a result of Krueger’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

        373.   As a result of Krueger’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.

        374.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Krueger’s actions.

        375.   Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

  COUNT XLI – Violation of U.S. Constitution (§1983)- Right to Procedural Due Process
                                 vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XLI of his Petition against Defendant, Brian Krueger

(hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XLI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        375.   Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the Brian Krueger to provide process before disciplinary action can be taken against

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Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

          376.    Blakeney had an expectancy of continued employment.

          377.    A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

          378.    Blakeney was never provided notice for his discipline.

          379.    Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

          380.    Blakeney never had opportunity to rebut the reason for termination.

          381.    There existed a statute, ordinance and operations manual that required just cause

for discipline.

          382.    Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          383.    Blakeney was denied his constitutional right of due process by the Brian Krueger,

as provided to him by the United States Constitution, Fourteenth Amendment. U.S. Const.,

Amend. XIV.

          384.    Krueger has procured liability insurance that would provide coverage for this claim.

          385.    As a result of Krueger’s actions/inactions, Blakeney is entitled to his past and future

lost earnings and benefits.

          386.    As a result of Krueger’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.



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        387.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Krueger’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

         COUNT XLII – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                              Right to Equal Protection
                                  vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XLII of his Petition against Defendant, Brian Krueger

(hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XLII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        361.   Blakeney was white and/or Caucasian.

        362.   Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

        363.   Krueger has procured liability insurance that would provide coverage for this claim.



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        364.   As a result of Krueger’s actions, Blakeney is entitled to his past and future lost

 earnings and benefits.

        365.   As a result of Krueger’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

        366.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Krueger’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                           COUNT XLIII Violation of 42 USC §1981
                                   vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XLIII of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XLIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        365.   Blakeney had an employment relationship and/or contract with Krueger.

        366.   Blakeney was treated differently than others in the same or similar situation, and

Krueger discriminated against him in the enforcement and termination of his employment contract

in violation of 42 U.S.C. §1981.

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        367.   The discriminatory treatment was intentional.

        368.   As a result of Krueger’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

        369.   As a result of Krueger’s actions, Blakeney suffered from emotional distress.

        370.   As a result of Krueger’s actions, Blakeney sustained other incidental and

consequential damages.

        371.   As a result of Krueger’s actions, Blakeney is entitled to attorney’s fees and costs.

        372.   There is insurance coverage for this claim.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                  COUNT XLIV - Violation of Privacy Act 5 USC §552a(b)
                                 vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XLIV of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XLIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        361.   Krueger violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

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         362.   Krueger has provided insurance coverage that would provide coverage for this

claim.

         363.   As a result of Krueger’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

         364.   As a result of Krueger’s actions, Blakeney suffered from emotional distress.

         365.   As a result of Krueger’s actions, Blakeney sustained other incidental and

consequential damages.

         366.   As a result of Krueger’s actions, Blakeney is entitled to attorney’s fees and costs.

         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

 Plaintiff Demands Trial by Jury.

                                COUNT XLV – Abuse of Process
                                    vs. Brian Krueger

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XLV of his Petition against Defendant, Brian Krueger

(hereafter referred to as “Krueger”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XLV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         355.   Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

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        356.   Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

        357.   The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Brian Krueger in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury


                            COUNT XLVI – Malicious Prosecution
                                   vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XLVI of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XLVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        361.   There was a commencement of a judicial proceeding against Blakeney;

        362.   The defendant instigation the suit through his/her actions and inactions;

        363.   The proceeding will be terminated in plaintiff’s favor;

        364.   There was an absence of probable cause for the suit;

        365.   The defendant had malice in instituting the suit; and

        366.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.
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       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Brian Krueger in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
              COUNT XLVIII – Invasion of Privacy—Intrusion upon Selection
                                 vs. Brian Krueger

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XLVIII of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XLVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       355.    There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

       356.    Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       357.    As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Brian Krueger in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
              COUNT XLIX – Invasion of Privacy—Publication of Private Facts
                                  vs. Brian Krueger




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       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XLIX of his Petition against Defendant, Brian

Krueger (hereafter referred to as “Krueger”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XLIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       357.    The defendant published orally and in writing the information to third parties about

Blakeney,

       358.    Blakeney did not waive or consent to the publication,

       359.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       360.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Brian Krueger in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                             COUNT L –Whistle Blower Act (2017)
                                    vs. Brian Krueger

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count L of his Petition against Defendant, Brian Krueger

(hereafter referred to as “Krueger”), states:



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          1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count L, Plaintiff

realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of the

Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          355.   Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The Brian Krueger and its officials;

          356.   Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

          357.   Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

          WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Brian Krueger in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                               COUNT LI – Missouri Common Law
                                      vs. Brian Krueger

          NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LI of his Petition against Defendant, Brian Krueger,

states:

          1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          349.   Brian Krueger’s release of Blakeney’s personnel records was an invasion of

privacy.

          350.   The release of personnel records has led to news reports making misleading and

speculative reports about Blakeney.

          351.   Pine Lawn has procured liability insurance for the wrongful release of an

employee’s personnel records to the public.

          352.   Blakeney has suffered from severe emotional distress as a result of the release of

his personnel records.

          353.   Blakeney is entitled to punitive damages for Brian Krueger’s actions of releasing

his personnel records to various news agencies.

          WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                   COUNT LII – Intentional Infliction of Emotional Distress
                                    vs. Brian Krueger

          NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LII of his Petition against Defendant, Brian Krueger

states:

          1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.     Brian Krueger knew or reasonably should have known that his actions would cause

Blakeney severe emotional distress.

        350.     Blakeney did suffer from severe emotional distress as a result of Brian Krueger’s

actions.

        351.     There is insurance coverage that would cover infliction of emotional distress.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial By Jury.

               COUNT LIII – Intentional Interference with Economic Relationship
                                     vs. Brian Krueger

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LIII of his Petition against Defendant, Brian Krueger

(hereafter referred to as “Krueger”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.     Krueger was involved in attending the hearings and disclosed restricted and false

evidence to third parties.




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        350.    Blakeney had a valid employment relationship with Pine Lawn and an expectance

of continued employment with Pine Lawn.

        351.    Krueger had knowledge of the aforementioned relationship and expectance.

        352.    Blakeney was able to perform his job duties in a satisfactory manner.

        353.    Krueger, in his individual and unofficial capacity, intentionally and wrongfully

interfered with Blakeney’s economic relationship and expectancy of continued employment,

without justification or excuse, that he had through his employment with City of Pine Lawn Police

Department by causing Blakeney to be wrongfully terminated.

        354.    Krueger, in his individual and unofficial capacity, acted maliciously with personal

animosity against Blakeney and Krueger acted for his own personal interests contrary to those of

the police department and used improper means to further his own interests, when he caused

Blakeney’s employment to be terminated through his actions.

        355.    As a proximate result of Krueger’s intentional interference with his business

relationship, Blakeney lost wages and fringe benefits and will continue to lose wages and fringe

benefits in the future.

        356.    As a proximate result of Krueger’s intentional interference with his business

relationship, Blakeney is entitled to other incidental and consequential damages sustained by him.

        357.    As a proximate result of Krueger’s intentional interference with his business

relationship, Blakeney sustained severe emotional distress.

        358.    Blakeney is also entitled to punitive damages as a result of Krueger’s intentional

interference with business relationship.

        359.    There is insurance coverage for this claim.




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        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Brian Krueger, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff demands Trial by Jury.

                    COUNT LIV – Missouri Common Law Whistleblower
                                  vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LIV of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.   Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

        350.   Smith has procured liability insurance that would provide coverage for retaliatory

discharge claims brought against them.

        351.   As a result of Smith’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

        352.   As a result of Smith’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

        353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Smith’s actions.

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           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

     COUNT LV – Missouri Common Law Retaliation - Violation of State Constitution
                              vs. Donnell Smith

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for

Count LV of his Petition against Defendant, Donnell Smith (hereafter referred to as “Smith”),

states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           364.   Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

           365.   Smith has procured liability insurance that would provide coverage for the

allegations contained in Count II.

           366.   As a result of Smith’s discharge of Blakeney, he is entitled to his past and future

lost earnings and benefits.

           367.   As a result of Smith’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

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        368.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Smith’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

          COUNT LVI – Missouri Common Law Retaliation – Acting as a Witness
                                 vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LVI of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        364.   Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.

        365.   Smith has procured liability insurance that would provide coverage for this claim

brought against it.

        366.   As a result of Smith’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.




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        367.   As a result of Smith’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

        368.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Smith’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                            COUNT LVII – Missouri Common Law
                                   vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LVII of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        352.   Donnell Smith is the agent for Smith and Smith is responsible for his actions of

releasing Blakeney’s personnel records to the public.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

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                 COUNT LVIII – Intentional Infliction of Emotional Distress
                                   vs. Donnell Smith

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LVIII of his Petition against Defendant, Donnell

Smith (hereafter referred to as “Smith”) states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       352.    Donnell Smith is the agent for Smith and Smith is responsible for his actions for

the infliction of emotional distress.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Smith, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

        COUNT LIX – Violation of U.S. Constitution (§1983) – Right to Free Speech
                                  vs. Donnell Smith

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LIX of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of




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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         376.   Blakeney also talked to the press about many of the aforementioned allegations.

         377.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         378.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

         379.   Smith has no compelling interest that overrides the employee’s rights.

         380.   Smith has procured liability insurance that would provide coverage for this claim.

         381.   As a result of Smith’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

         382.   As a result of Smith’s actions, he was caused to suffer severe emotional distress

which will continue into the future.

         383.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Smith’s actions.

         384.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.

         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.



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                   COUNT LX – Violation of Federal Constitution (§1983) –
                            Right to Freedom of Association
                                   vs. Donnell Smith

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LX of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       376.    Blakeney also talked to the press about many of the aforementioned allegations.

       377.    Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.

       378.    The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

       379.    Smith has no compelling interest that overrides the employee’s rights.

       380.    Smith has procured liability insurance that would provide coverage for this claim.

       381.    As a result of Smith’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

       382.    As a result of Smith’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.



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        383.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Smith’s actions.

        384.   Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

  COUNT LXI – Violation of U.S. Constitution (§1983)- Right to Procedural Due Process
                                  vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXI of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        388.   Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the Donnell Smith to provide process before disciplinary action can be taken against

Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

        389.   Blakeney had an expectancy of continued employment.




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          390.    A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

          391.    Blakeney was never provided notice for his discipline.

          392.    Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

          393.    Blakeney never had opportunity to rebut the reason for termination.

          394.    There existed a statute, ordinance and operations manual that required just cause

for discipline.

          395.    Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          396.    Blakeney was denied his constitutional right of due process by the Donnell Smith,

as provided to him by the United States Constitution, Fourteenth Amendment. U.S. Const.,

Amend. XIV.

          397.    Smith has procured liability insurance that would provide coverage for this claim.

          398.    As a result of Smith’s actions/inactions, Blakeney is entitled to his past and future

lost earnings and benefits.

          399.    As a result of Smith’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.

          400.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Smith’s actions.




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        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

         COUNT LXII – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                              Right to Equal Protection
                                  vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXII of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        367.   Blakeney was white and/or Caucasian.

        368.   Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

        369.   Smith has procured liability insurance that would provide coverage for this claim.

        370.   As a result of Smith’s actions, Blakeney is entitled to his past and future lost

 earnings and benefits.



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        371.   As a result of Smith’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

        372.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Smith’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                           COUNT LXIII Violation of 42 USC §1981
                                   vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXIII of his Petition against Defendant, Donnell

Smith (hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        373.   Blakeney had an employment relationship and/or contract with Smith.

        374.   Blakeney was treated differently than others in the same or similar situation, and

Smith discriminated against him in the enforcement and termination of his employment contract

in violation of 42 U.S.C. §1981.

        375.   The discriminatory treatment was intentional.




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        376.   As a result of Smith’s actions, Blakeney lost wages and benefits and will lose wages

and benefits in the future.

        377.   As a result of Smith’s actions, Blakeney suffered from emotional distress.

        378.   As a result of Smith’s actions, Blakeney sustained other incidental and

consequential damages.

        379.   As a result of Smith’s actions, Blakeney is entitled to attorney’s fees and costs.

        380.   There is insurance coverage for this claim.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                   COUNT LXIV - Violation of Privacy Act 5 USC §552a(b)
                                   vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXIV of his Petition against Defendant, Donnell

Smith (hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        367.   Smith violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

        368.   Smith has provided insurance coverage that would provide coverage for this claim.

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        369.   As a result of Smith’s actions, Blakeney lost wages and benefits and will lose wages

and benefits in the future.

        370.   As a result of Smith’s actions, Blakeney suffered from emotional distress.

        371.   As a result of Smith’s actions, Blakeney sustained other incidental and

consequential damages.

        372.   As a result of Smith’s actions, Blakeney is entitled to attorney’s fees and costs.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

 Plaintiff Demands Trial by Jury.

                                COUNT LXV – Abuse of Process
                                     vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXV of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        358.   Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

        359.   Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

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        360.   The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Donnell Smith in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                            COUNT LXVI – Malicious Prosecution
                                   vs. Donnell Smith

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXVI of his Petition against Defendant, Donnell

Smith (hereafter referred to as “Smith”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        367.   There was a commencement of a judicial proceeding against Blakeney;

        368.   The defendant instigation the suit through his/her actions and inactions;

        369.   The proceeding will be terminated in plaintiff’s favor;

        370.   There was an absence of probable cause for the suit;

        371.   The defendant had malice in instituting the suit; and

        372.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Donnell Smith in an amount in excess of $25,000.00 and award costs of suit.


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Plaintiff Demands Trial by Jury
               COUNT LXVII – Invasion of Privacy—Intrusion upon Selection
                                  vs. Donnell Smith

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXVII of his Petition against Defendant, Donnell

Smith (hereafter referred to as “Smith”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       358.     There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

       359.     Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       360.     As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Donnell Smith in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
              COUNT LXVIII – Invasion of Privacy—Publication of Private Facts
                                   vs. Donnell Smith

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton




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of Brunton Law Offices, P.C., and for Count LXVIII of his Petition against Defendant, Donnell

Smith (hereafter referred to as “Smith”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       361.    The defendant published orally and in writing the information to third parties about

Blakeney,

       362.    Blakeney did not waive or consent to the publication,

       363.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       364.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Donnell Smith in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                          COUNT LXIX – Whistle Blower Act (2017)
                                   vs. Donnell Smith

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXIX of his Petition against Defendant, Donnell

Smith (hereafter referred to as “Smith”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of



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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       358.     Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The Donnell Smith and its officials;

       359.     Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

       360.     Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Donnell Smith in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
              COUNT LXX – Intentional Interference with Economic Relationship
                                   vs. Donnell Smith

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXX of his Petition against Defendant, Donnell Smith

(hereafter referred to as “Smith”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.


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        349.    Smith was the city attorney for Pine Lawn and was involved with the setting of the

hearings regarding personnel issues and presenting, or not presenting evidence, during the

hearings.

        350.    Blakeney had a valid employment relationship with Pine Lawn and an expectance

of continued employment with Pine Lawn.

        351.    Smith had knowledge of the aforementioned relationship and expectance.

        352.    Blakeney was able to perform his job duties in a satisfactory manner.

        353.    Smith, in his individual unofficial capacity, intentionally and wrongfully interfered

with Blakeney’s economic relationship and expectancy of continued employment, without

justification or excuse, that he had through his employment with City of Pine Lawn Police

Department by causing Blakeney to be wrongfully terminated.

        354.    Smith, in his individual unofficial capacity, acted maliciously with personal

animosity against Blakeney and Smith acted for his own personal interests contrary to those of the

police department and used improper means to further his own interests, when he caused

Blakeney’s employment to be terminated through his actions.

        355.    As a proximate result of Smith’s intentional interference with his business

relationship, Blakeney lost wages and fringe benefits and will continue to lose wages and fringe

benefits in the future.

        356.    As a proximate result of Smith’s intentional interference with his business

relationship, Blakeney is entitled to other incidental and consequential damages sustained by him.

        357.    As a proximate result of Smith’s intentional interference with his business

relationship, Blakeney sustained severe emotional distress.




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        358.   Blakeney is also entitled to punitive damages as a result of Smith’s intentional

interference with business relationship.

        359.   There is insurance coverage for this claim.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Donnell Smith, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff demands Trial by Jury.

                   COUNT LXXI – Missouri Common Law Whistleblower
                                   vs. Willie Epps

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXI of his Petition against Defendant, Willie Epps

(hereafter referred to as “Epps”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.   Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

        350.   Epps has procured liability insurance that would provide coverage for retaliatory

discharge claims brought against them.

        351.   As a result of Epps’s retaliatory discharge of Blakeney, he is entitled to his past and

future lost earnings and benefits.




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          352.   As a result of Epps’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

          353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Epps’s actions.

          WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

   COUNT LXXII – Missouri Common Law Retaliation - Violation of State Constitution
                               vs. Willie Epps

          NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for

Count LXXII of his Petition against Defendant, Willie Epps (hereafter referred to as “Epps”),

states:

          1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          369.   Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

          370.   Epps has procured liability insurance that would provide coverage for the

allegations contained in Count II.

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       371.    As a result of Epps’s discharge of Blakeney, he is entitled to his past and future lost

earnings and benefits.

       372.    As a result of Epps’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

       373.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Epps’s actions.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

        COUNT LXXIII – Missouri Common Law Retaliation – Acting as a Witness
                                 vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXIII of his Petition against Defendant, Willie Epps

(hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       369.    Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.

       370.    Epps has procured liability insurance that would provide coverage for this claim

brought against it.

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       371.    As a result of Epps’s retaliatory discharge of Blakeney, he is entitled to his past and

future lost earnings and benefits.

       372.    As a result of Epps’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

       373.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Epps’s actions.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                           COUNT LXXIV – Missouri Common Law
                                    vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXIV of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       353.    Willie Epps is the agent for Epps and Epps is responsible for his actions of releasing

Blakeney’s personnel records to the public.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

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                 COUNT LXXV – Intentional Infliction of Emotional Distress
                                   vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXV of his Petition against Defendant, Willie Epps

(hereafter referred to as “Epps”) states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       353.    Willie Epps is the agent for Epps and Epps is responsible for his actions for the

infliction of emotional distress.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

      COUNT LXXVI – Violation of U.S. Constitution (§1983) – Right to Free Speech
                                  vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXVI of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of




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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         385.   Blakeney also talked to the press about many of the aforementioned allegations.

         386.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         387.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

         388.   Epps has no compelling interest that overrides the employee’s rights.

         389.   Epps has procured liability insurance that would provide coverage for this claim.

         390.   As a result of Epps’s actions, Blakeney is entitled to his past and future lost earnings

and benefits.

         391.   As a result of Epps’s actions, he was caused to suffer severe emotional distress

which will continue into the future.

         392.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Epps’s actions.

         393.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.

         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                  COUNT LXXVII – Violation of Federal Constitution (§1983) –
                            Right to Freedom of Association

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                                           vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXVII of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       385.     Blakeney also talked to the press about many of the aforementioned allegations.

       386.     Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.

       387.     The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

       388.     Epps has no compelling interest that overrides the employee’s rights.

       389.     Epps has procured liability insurance that would provide coverage for this claim.

       390.     As a result of Epps’s actions, Blakeney is entitled to his past and future lost earnings

and benefits.

       391.     As a result of Epps’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.




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       392.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Epps’s actions.

       393.    Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

   COUNT LXXVIII – Violation of U.S. Constitution (§1983)- Right to Procedural Due
                                     Process
                                 vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXVIII of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       401.    Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the Willie Epps to provide process before disciplinary action can be taken against

Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

       402.    Blakeney had an expectancy of continued employment.




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          403.    A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

          404.    Blakeney was never provided notice for his discipline.

          405.    Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

          406.    Blakeney never had opportunity to rebut the reason for termination.

          407.    There existed a statute, ordinance and operations manual that required just cause

for discipline.

          408.    Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          409.    Blakeney was denied his constitutional right of due process by the Willie Epps, as

provided to him by the United States Constitution, Fourteenth Amendment. U.S. Const., Amend.

XIV.

          410.    Epps has procured liability insurance that would provide coverage for this claim.

          411.    As a result of Epps’s actions/inactions, Blakeney is entitled to his past and future

lost earnings and benefits.

          412.    As a result of Epps’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.

          413.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Epps’s actions.




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       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

        COUNT LXXIX – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                             Right to Equal Protection
                                  vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXIX of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       373.      Blakeney was white and/or Caucasian.

       374.      Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

       375.      Epps has procured liability insurance that would provide coverage for this claim.

       376.      As a result of Epps’s actions, Blakeney is entitled to his past and future lost earnings

 and benefits.




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       377.    As a result of Epps’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

       378.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Epps’s actions.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                              COUNT LXXX Violation of 42 USC §1981
                                       vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXX of his Petition against Defendant, Willie Epps

(hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       381.    Blakeney had an employment relationship and/or contract with Epps.

       382.    Blakeney was treated differently than others in the same or similar situation, and

Epps discriminated against him in the enforcement and termination of his employment contract in

violation of 42 U.S.C. §1981.

       383.    The discriminatory treatment was intentional.

       384.    As a result of Epps’s actions, Blakeney lost wages and benefits and will lose wages

and benefits in the future.

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       385.    As a result of Epps’s actions, Blakeney suffered from emotional distress.

       386.    As a result of Epps’s actions, Blakeney sustained other incidental and consequential

damages.

       387.    As a result of Epps’s actions, Blakeney is entitled to attorney’s fees and costs.

       388.    There is insurance coverage for this claim.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                  COUNT LXXXI - Violation of Privacy Act 5 USC §552a(b)
                                   vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXXI of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       373.    Epps violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

       374.    Epps has provided insurance coverage that would provide coverage for this claim.

       375.    As a result of Epps’s actions, Blakeney lost wages and benefits and will lose wages

and benefits in the future.

       376.    As a result of Epps’s actions, Blakeney suffered from emotional distress.

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       377.    As a result of Epps’s actions, Blakeney sustained other incidental and consequential

damages.

       378.    As a result of Epps’s actions, Blakeney is entitled to attorney’s fees and costs.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Willie Epps, in an amount in excess of $25,000.00 and award costs of suit.

 Plaintiff Demands Trial by Jury.

                              COUNT LXXXII – Abuse of Process
                                     vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXXII of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXXII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       361.    Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

       362.    Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

       363.    The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Willie Epps in an amount in excess of $25,000.00 and award costs of suit.

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Plaintiff Demands Trial by Jury
                           COUNT LXXXIII – Malicious Prosecution
                                    vs. Willie Epps

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXXIII of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        373.    There was a commencement of a judicial proceeding against Blakeney;

        374.    The defendant instigation the suit through his/her actions and inactions;

        375.    The proceeding will be terminated in plaintiff’s favor;

        376.    There was an absence of probable cause for the suit;

        377.    The defendant had malice in instituting the suit; and

        378.    Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Willie Epps in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
               COUNT LXXXIV – Invasion of Privacy—Intrusion upon Selection
                                   vs. Willie Epps

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton


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of Brunton Law Offices, P.C., and for Count LXXXIV of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       361.    There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

       362.    Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       363.    As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Willie Epps in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
            COUNT LXXXV – Invasion of Privacy—Publication of Private Facts
                                 vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXXV of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXXV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of




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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       365.    The defendant published orally and in writing the information to third parties about

Blakeney,

       366.    Blakeney did not waive or consent to the publication,

       367.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       368.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Willie Epps in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                        COUNT LXXXVI – Whistle Blower Act (2017)
                                  vs. Willie Epps

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXXVI of his Petition against Defendant, Willie

Epps (hereafter referred to as “Epps”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       361.    Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The Willie Epps and its officials;



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       362.    Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

       363.    Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Willie Epps in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                 COUNT LXXXVII – Missouri Common Law Whistleblower
                               vs. Clarence Harmon

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXXVII of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXXVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       349.    Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

       350.    Harmon has procured liability insurance that would provide coverage for retaliatory

discharge claims brought against them.


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        351.     As a result of Harmon’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

        352.     As a result of Harmon’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

        353.     Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Harmon’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award

costs of suit.

Plaintiff Demands Trial by Jury.

 COUNT LXXXVIII – Missouri Common Law Retaliation - Violation of State Constitution
                             vs. Clarence Harmon

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for

Count LXXXVIII of his Petition against Defendant, Clarence Harmon (hereafter referred to as

“Harmon”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count

LXXXVIII, Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-

eight (348) of the Petitioner’s Jurisdictional and Venue statements, description of the parties, and

common allegations of Facts, as though fully alleged herein.

        374.     Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

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           375.   Harmon has procured liability insurance that would provide coverage for the

allegations contained in Count II.

           376.   As a result of Harmon’s discharge of Blakeney, he is entitled to his past and future

lost earnings and benefits.

           377.   As a result of Harmon’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

           378.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Harmon’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

           COUNT LXXXIX – Missouri Common Law Retaliation – Acting as a Witness
                                 vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count LXXXIX of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count LXXXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.




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           374.   Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.

           375.   Harmon has procured liability insurance that would provide coverage for this claim

brought against it.

           376.   As a result of Harmon’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

           377.   As a result of Harmon’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

           378.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Harmon’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                               COUNT XC – Missouri Common Law
                                    vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XC of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XC,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of




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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           354.   Clarence Harmon is the agent for Harmon and Harmon is responsible for his actions

of releasing Blakeney’s personnel records to the public.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                    COUNT XCI – Intentional Infliction of Emotional Distress
                                   vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCI of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”) states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           354.   Clarence Harmon is the agent for Harmon and Harmon is responsible for his actions

for the infliction of emotional distress.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Harmon, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

           COUNT XCII – Violation of U.S. Constitution (§1983) – Right to Free Speech

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                                       vs. Clarence Harmon

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCII of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         394.   Blakeney also talked to the press about many of the aforementioned allegations.

         395.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         396.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

         397.   Harmon has no compelling interest that overrides the employee’s rights.

         398.   Harmon has procured liability insurance that would provide coverage for this claim.

         399.   As a result of Harmon’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

         400.   As a result of Harmon’s actions, he was caused to suffer severe emotional distress

which will continue into the future.




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           401.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Harmon’s actions.

           402.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                   COUNT XCIII – Violation of Federal Constitution (§1983) –
                             Right to Freedom of Association
                                   vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCIII of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           394.   Blakeney also talked to the press about many of the aforementioned allegations.

           395.   Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.



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           396.   The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

           397.   Harmon has no compelling interest that overrides the employee’s rights.

           398.   Harmon has procured liability insurance that would provide coverage for this claim.

           399.   As a result of Harmon’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

           400.   As a result of Harmon’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.

           401.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Harmon’s actions.

           402.   Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

 COUNT XCIV – Violation of U.S. Constitution (§1983)- Right to Procedural Due Process
                               vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCIV of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          414.    Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the Clarence Harmon to provide process before disciplinary action can be taken against

Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

          415.    Blakeney had an expectancy of continued employment.

          416.    A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

          417.    Blakeney was never provided notice for his discipline.

          418.    Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

          419.    Blakeney never had opportunity to rebut the reason for termination.

          420.    There existed a statute, ordinance and operations manual that required just cause

for discipline.

          421.    Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          422.    Blakeney was denied his constitutional right of due process by the Clarence

Harmon, as provided to him by the United States Constitution, Fourteenth Amendment. U.S.

Const., Amend. XIV.

          423.    Harmon has procured liability insurance that would provide coverage for this claim.



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           424.   As a result of Harmon’s actions/inactions, Blakeney is entitled to his past and future

lost earnings and benefits.

           425.   As a result of Harmon’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.

           426.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Harmon’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

            COUNT XCV – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                                Right to Equal Protection
                                  vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCV of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           379.   Blakeney was white and/or Caucasian.

           380.   Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other



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 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

           381.   Harmon has procured liability insurance that would provide coverage for this claim.

           382.   As a result of Harmon’s actions, Blakeney is entitled to his past and future lost

 earnings and benefits.

           383.   As a result of Harmon’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

           384.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Harmon’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                             COUNT XCVI Violation of 42 USC §1981
                                    vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCVI of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

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           389.   Blakeney had an employment relationship and/or contract with Harmon.

           390.   Blakeney was treated differently than others in the same or similar situation, and

Harmon discriminated against him in the enforcement and termination of his employment contract

in violation of 42 U.S.C. §1981.

           391.   The discriminatory treatment was intentional.

           392.   As a result of Harmon’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

           393.   As a result of Harmon’s actions, Blakeney suffered from emotional distress.

           394.   As a result of Harmon’s actions, Blakeney sustained other incidental and

consequential damages.

           395.   As a result of Harmon’s actions, Blakeney is entitled to attorney’s fees and costs.

           396.   There is insurance coverage for this claim.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                    COUNT XCVII - Violation of Privacy Act 5 USC §552a(b)
                                  vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCVII of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           379.   Harmon violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

           380.   Harmon has provided insurance coverage that would provide coverage for this

claim.

           381.   As a result of Harmon’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

           382.   As a result of Harmon’s actions, Blakeney suffered from emotional distress.

           383.   As a result of Harmon’s actions, Blakeney sustained other incidental and

consequential damages.

           384.   As a result of Harmon’s actions, Blakeney is entitled to attorney’s fees and costs.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Clarence Harmon, in an amount in excess of $25,000.00 and award costs

of suit.

 Plaintiff Demands Trial by Jury.

                                COUNT XCVIII – Abuse of Process
                                    vs. Clarence Harmon

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCVIII of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       364.    Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

       365.    Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

       366.    The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Clarence Harmon in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                            COUNT XCIX – Malicious Prosecution
                                  vs. Clarence Harmon

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count XCIX of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count XCIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       379.    There was a commencement of a judicial proceeding against Blakeney;

       380.    The defendant instigation the suit through his/her actions and inactions;

       381.    The proceeding will be terminated in plaintiff’s favor;


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        382.   There was an absence of probable cause for the suit;

        383.   The defendant had malice in instituting the suit; and

        384.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Clarence Harmon in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                 COUNT C – Invasion of Privacy—Intrusion upon Selection
                                 vs. Clarence Harmon

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count C of his Petition against Defendant, Clarence Harmon

(hereafter referred to as “Harmon”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count C, Plaintiff

realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of the

Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        364.   There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

        365.   Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

        366.   As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.




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       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Clarence Harmon in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
               COUNT CI – Invasion of Privacy—Publication of Private Facts
                                 vs. Clarence Harmon

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CI of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       369.    The defendant published orally and in writing the information to third parties about

Blakeney,

       370.    Blakeney did not waive or consent to the publication,

       371.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       372.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Clarence Harmon in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                           COUNT CII – Whistle Blower Act (2017)
                                  vs. Clarence Harmon



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       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CII of his Petition against Defendant, Clarence

Harmon (hereafter referred to as “Harmon”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       364.    Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The Clarence Harmon and its officials;

       365.    Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

       366.    Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Clarence Harmon in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                    COUNT CIII – Missouri Common Law Whistleblower
                                 vs. Lashawn Colquitt

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton


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of Brunton Law Offices, P.C., and for Count CIII of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        349.     Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

        350.     Colquitt has procured liability insurance that would provide coverage for retaliatory

discharge claims brought against them.

        351.     As a result of Colquitt’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

        352.     As a result of Colquitt’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

        353.     Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Colquitt’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award

costs of suit.

Plaintiff Demands Trial by Jury.

    COUNT CIV – Missouri Common Law Retaliation - Violation of State Constitution
                             vs. Lashawn Colquitt

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for

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Count CIV of his Petition against Defendant, Lashawn Colquitt (hereafter referred to as

“Colquitt”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           379.   Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

           380.   Colquitt has procured liability insurance that would provide coverage for the

allegations contained in Count II.

           381.   As a result of Colquitt’s discharge of Blakeney, he is entitled to his past and future

lost earnings and benefits.

           382.   As a result of Colquitt’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

           383.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Colquitt’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

             COUNT CV – Missouri Common Law Retaliation – Acting as a Witness
                                  vs. Lashawn Colquitt

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           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CV of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           379.   Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.

           380.   Colquitt has procured liability insurance that would provide coverage for this claim

brought against it.

           381.   As a result of Colquitt’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

           382.   As a result of Colquitt’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

           383.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Colquitt’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

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                    COUNT CVI – Missouri Common Law Invasion of Privacy
                                   vs. Lashawn Colquitt

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CVI of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           355.   Lashawn Colquitt is the agent for Colquitt and Colquitt is responsible for his actions

of releasing Blakeney’s personnel records to the public.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                    COUNT CVII – Intentional Infliction of Emotional Distress
                                   vs. Lashawn Colquitt

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CVII of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”) states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of



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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         355.   Lashawn Colquitt is the agent for Colquitt and Colquitt is responsible for his actions

for the infliction of emotional distress.

         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Colquitt, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

         COUNT CVIII – Violation of U.S. Constitution (§1983) – Right to Free Speech
                                  vs. Lashawn Colquitt

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CVIII of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         403.   Blakeney also talked to the press about many of the aforementioned allegations.

         404.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         405.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

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           406.   Colquitt has no compelling interest that overrides the employee’s rights.

           407.   Colquitt has procured liability insurance that would provide coverage for this claim.

           408.   As a result of Colquitt’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

           409.   As a result of Colquitt’s actions, he was caused to suffer severe emotional distress

which will continue into the future.

           410.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Colquitt’s actions.

           411.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                    COUNT CIX – Violation of Federal Constitution (§1983) –
                             Right to Freedom of Association
                                   vs. Lashawn Colquitt

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CIX of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of




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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           403.   Blakeney also talked to the press about many of the aforementioned allegations.

           404.   Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.

           405.   The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

           406.   Colquitt has no compelling interest that overrides the employee’s rights.

           407.   Colquitt has procured liability insurance that would provide coverage for this claim.

           408.   As a result of Colquitt’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

           409.   As a result of Colquitt’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.

           410.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Colquitt’s actions.

           411.   Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.



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  COUNT CX – Violation of U.S. Constitution (§1983)- Right to Procedural Due Process
                                vs. Lashawn Colquitt

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CX of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        427.      Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the Lashawn Colquitt to provide process before disciplinary action can be taken against

Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

        428.      Blakeney had an expectancy of continued employment.

        429.      A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

        430.      Blakeney was never provided notice for his discipline.

        431.      Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

        432.      Blakeney never had opportunity to rebut the reason for termination.

        433.      There existed a statute, ordinance and operations manual that required just cause

for discipline.

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           434.   Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

           435.   Blakeney was denied his constitutional right of due process by the Lashawn

Colquitt, as provided to him by the United States Constitution, Fourteenth Amendment. U.S.

Const., Amend. XIV.

           436.   Colquitt has procured liability insurance that would provide coverage for this claim.

           437.   As a result of Colquitt’s actions/inactions, Blakeney is entitled to his past and future

lost earnings and benefits.

           438.   As a result of Colquitt’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.

           439.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Colquitt’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

            COUNT CXI – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                                Right to Equal Protection
                                  vs. Lashawn Colquitt

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXI of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:



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           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           385.   Blakeney was white and/or Caucasian.

           386.   Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

           387.   Colquitt has procured liability insurance that would provide coverage for this claim.

           388.   As a result of Colquitt’s actions, Blakeney is entitled to his past and future lost

 earnings and benefits.

           389.   As a result of Colquitt’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

           390.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Colquitt’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

                              COUNT CXII Violation of 42 USC §1981
                                     vs. Lashawn Colquitt




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           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXII of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           397.   Blakeney had an employment relationship and/or contract with Colquitt.

           398.   Blakeney was treated differently than others in the same or similar situation, and

Colquitt discriminated against him in the enforcement and termination of his employment contract

in violation of 42 U.S.C. §1981.

           399.   The discriminatory treatment was intentional.

           400.   As a result of Colquitt’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

           401.   As a result of Colquitt’s actions, Blakeney suffered from emotional distress.

           402.   As a result of Colquitt’s actions, Blakeney sustained other incidental and

consequential damages.

           403.   As a result of Colquitt’s actions, Blakeney is entitled to attorney’s fees and costs.

           404.   There is insurance coverage for this claim.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.



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Plaintiff Demands Trial by Jury.

                     COUNT CXIII - Violation of Privacy Act 5 USC §552a(b)
                                    vs. Lashawn Colquitt

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXIII of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           385.   Colquitt violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

           386.   Colquitt has provided insurance coverage that would provide coverage for this

claim.

           387.   As a result of Colquitt’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

           388.   As a result of Colquitt’s actions, Blakeney suffered from emotional distress.

           389.   As a result of Colquitt’s actions, Blakeney sustained other incidental and

consequential damages.

           390.   As a result of Colquitt’s actions, Blakeney is entitled to attorney’s fees and costs.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Lashawn Colquitt, in an amount in excess of $25,000.00 and award costs

of suit.

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 Plaintiff Demands Trial by Jury.

                                COUNT CXIV – Abuse of Process
                                    vs. Lashawn Colquitt

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXIV of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       367.    Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

       368.    Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

       369.    The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Lashawn Colquitt in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                             COUNT CXV – Malicious Prosecution
                                  vs. Lashawn Colquitt

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton



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of Brunton Law Offices, P.C., and for Count CXV of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        385.   There was a commencement of a judicial proceeding against Blakeney;

        386.   The defendant instigation the suit through his/her actions and inactions;

        387.   The proceeding will be terminated in plaintiff’s favor;

        388.   There was an absence of probable cause for the suit;

        389.   The defendant had malice in instituting the suit; and

        390.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Lashawn Colquitt in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
               COUNT CXVI – Invasion of Privacy—Intrusion upon Selection
                               vs. Lashawn Colquitt

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXVI of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of


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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       367.     There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

       368.     Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       369.     As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Lashawn Colquitt in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
              COUNT CXVII – Invasion of Privacy—Publication of Private Facts
                                vs. Lashawn Colquitt

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXVII of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       373.     The defendant published orally and in writing the information to third parties about

Blakeney,

       374.     Blakeney did not waive or consent to the publication,


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       375.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       376.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Lashawn Colquitt in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                          COUNT CXVIII – Whistle Blower Act (2017)
                                  vs. Lashawn Colquitt

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXVIII of his Petition against Defendant, Lashawn

Colquitt (hereafter referred to as “Colquitt”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       367.    Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The Lashawn Colquitt and its officials;

       368.    Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

       369.    Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive



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or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Lashawn Colquitt in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                   COUNT CXIX – Missouri Common Law Whistleblower
                                 vs. Anthony Gray

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXIX of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       349.    Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

       350.    Gray has procured liability insurance that would provide coverage for retaliatory

discharge claims brought against them.

       351.    As a result of Gray’s retaliatory discharge of Blakeney, he is entitled to his past and

future lost earnings and benefits.

       352.    As a result of Gray’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.




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           353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Gray’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

    COUNT CXX – Missouri Common Law Retaliation - Violation of State Constitution
                              vs. Anthony Gray

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for

Count CXX of his Petition against Defendant, Anthony Gray (hereafter referred to as “Gray”),

states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           384.   Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

           385.   Gray has procured liability insurance that would provide coverage for the

allegations contained in Count II.

           386.   As a result of Gray’s discharge of Blakeney, he is entitled to his past and future lost

earnings and benefits.

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        387.   As a result of Gray’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

        388.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Gray’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

         COUNT CXXI – Missouri Common Law Retaliation – Acting as a Witness
                                vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXI of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        384.   Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.

        385.   Gray has procured liability insurance that would provide coverage for this claim

brought against it.




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        386.   As a result of Gray’s retaliatory discharge of Blakeney, he is entitled to his past and

future lost earnings and benefits.

        387.   As a result of Gray’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

        388.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Gray’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                           COUNT CXXII – Missouri Common Law
                                   vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXII of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        356.   Anthony Gray is the agent for Gray and Gray is responsible for his actions of

releasing Blakeney’s personnel records to the public.




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         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                COUNT CXXIII – Intentional Infliction of Emotional Distress
                                  vs. Anthony Gray

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXIII of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”) states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         356.   Anthony Gray is the agent for Gray and Gray is responsible for his actions for the

infliction of emotional distress.

         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Gray, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

        COUNT CXXIV – Violation of U.S. Constitution (§1983) – Right to Free Speech
                                  vs. Anthony Gray

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton




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of Brunton Law Offices, P.C., and for Count CXXIV of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         412.   Blakeney also talked to the press about many of the aforementioned allegations.

         413.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         414.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

         415.   Gray has no compelling interest that overrides the employee’s rights.

         416.   Gray has procured liability insurance that would provide coverage for this claim.

         417.   As a result of Gray’s actions, Blakeney is entitled to his past and future lost earnings

and benefits.

         418.   As a result of Gray’s actions, he was caused to suffer severe emotional distress

which will continue into the future.

         419.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Gray’s actions.

         420.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.



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        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                 COUNT CXXVI – Violation of Federal Constitution (§1983) –
                          Right to Freedom of Association
                                  vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXVI of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        412.   Blakeney also talked to the press about many of the aforementioned allegations.

        413.   Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.

        414.   The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

        415.   Gray has no compelling interest that overrides the employee’s rights.

        416.   Gray has procured liability insurance that would provide coverage for this claim.



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        417.    As a result of Gray’s actions, Blakeney is entitled to his past and future lost earnings

and benefits.

        418.    As a result of Gray’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.

        419.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Gray’s actions.

        420.    Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

    COUNT CXXVII – Violation of U.S. Constitution (§1983)- Right to Procedural Due
                            Process vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXVII of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        440.    Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the Anthony Gray to provide process before disciplinary action can be taken against

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Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

          441.    Blakeney had an expectancy of continued employment.

          442.    A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

          443.    Blakeney was never provided notice for his discipline.

          444.    Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

          445.    Blakeney never had opportunity to rebut the reason for termination.

          446.    There existed a statute, ordinance and operations manual that required just cause

for discipline.

          447.    Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          448.    Blakeney was denied his constitutional right of due process by the Anthony Gray,

as provided to him by the United States Constitution, Fourteenth Amendment. U.S. Const.,

Amend. XIV.

          449.    Gray has procured liability insurance that would provide coverage for this claim.

          450.    As a result of Gray’s actions/inactions, Blakeney is entitled to his past and future

lost earnings and benefits.

          451.    As a result of Gray’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.



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        452.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Gray’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

        COUNT CXXVIII – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                             Right to Equal Protection
                                 vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXVIII of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        391.   Blakeney was white and/or Caucasian.

        392.   Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

        393.   Gray has procured liability insurance that would provide coverage for this claim.



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        394.     As a result of Gray’s actions, Blakeney is entitled to his past and future lost earnings

 and benefits.

        395.     As a result of Gray’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

        396.     Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Gray’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                            COUNT CXXIX Violation of 42 USC §1981
                                    vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXIX of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        405.     Blakeney had an employment relationship and/or contract with Gray.

        406.     Blakeney was treated differently than others in the same or similar situation, and

Gray discriminated against him in the enforcement and termination of his employment contract in

violation of 42 U.S.C. §1981.

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        407.   The discriminatory treatment was intentional.

        408.   As a result of Gray’s actions, Blakeney lost wages and benefits and will lose wages

and benefits in the future.

        409.   As a result of Gray’s actions, Blakeney suffered from emotional distress.

        410.   As a result of Gray’s actions, Blakeney sustained other incidental and consequential

damages.

        411.   As a result of Gray’s actions, Blakeney is entitled to attorney’s fees and costs.

        412.   There is insurance coverage for this claim.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                  COUNT CXXX - Violation of Privacy Act 5 USC §552a(b)
                                 vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXX of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        391.   Gray violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

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        392.   Gray has provided insurance coverage that would provide coverage for this claim.

        393.   As a result of Gray’s actions, Blakeney lost wages and benefits and will lose wages

and benefits in the future.

        394.   As a result of Gray’s actions, Blakeney suffered from emotional distress.

        395.   As a result of Gray’s actions, Blakeney sustained other incidental and consequential

damages.

        396.   As a result of Gray’s actions, Blakeney is entitled to attorney’s fees and costs.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Anthony Gray, in an amount in excess of $25,000.00 and award costs of

suit.

 Plaintiff Demands Trial by Jury.

                              COUNT CXXXI – Abuse of Process
                                    vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXXI of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        370.   Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;




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        371.   Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

        372.   The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Anthony Gray in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                           COUNT CXXXII – Malicious Prosecution
                                   vs. Anthony Gray

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXXII of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXXII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        391.   There was a commencement of a judicial proceeding against Blakeney;

        392.   The defendant instigation the suit through his/her actions and inactions;

        393.   The proceeding will be terminated in plaintiff’s favor;

        394.   There was an absence of probable cause for the suit;

        395.   The defendant had malice in instituting the suit; and

        396.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.


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       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Anthony Gray in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
              COUNT CXXXIII – Invasion of Privacy—Intrusion upon Selection
                                 vs. Anthony Gray

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXXIII of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       370.    There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

       371.    Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       372.    As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Anthony Gray in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
           COUNT CXXXIV – Invasion of Privacy—Publication of Private Facts
                               vs. Anthony Gray




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       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXXIV of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       377.    The defendant published orally and in writing the information to third parties about

Blakeney,

       378.    Blakeney did not waive or consent to the publication,

       379.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       380.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Anthony Gray in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                         COUNT CXXXV – Whistle Blower Act (2017)
                                  vs. Anthony Gray

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXXV of his Petition against Defendant, Anthony

Gray (hereafter referred to as “Gray”), states:



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       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXXV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       370.    Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The Anthony Gray and its officials;

       371.    Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

       372.    Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Anthony Gray in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                 COUNT CXXXVI – Missouri Common Law Whistleblower
                                 vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXXVI of his Petition against Defendant, Paul

Rinck (hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of


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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          349.   Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

          350.   Rinck has procured liability insurance that would provide coverage for retaliatory

discharge claims brought against them.

          351.   As a result of Rinck’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

          352.   As a result of Rinck’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

          353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Rinck’s actions.

          WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

 COUNT CXXXVII – Missouri Common Law Retaliation - Violation of State Constitution
                              vs. Paul Rinck

          NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for

Count CXXXVII of his Petition against Defendant, Paul Rinck (hereafter referred to as “Rinck”),

states:

          1-348. For paragraphs     one (1) through        three hundred forty-eight       (348) of

Count CXXXVII, Plaintiff realleges and incorporates paragraphs one (1) through three hundred

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forty-eight (348) of the Petitioner’s Jurisdictional and Venue statements, description of the parties,

and common allegations of Facts, as though fully alleged herein.

       389.    Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

       390.    Rinck has procured liability insurance that would provide coverage for the

allegations contained in Count II.

       391.    As a result of Rinck’s discharge of Blakeney, he is entitled to his past and future

lost earnings and benefits.

       392.    As a result of Rinck’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

       393.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Rinck’s actions.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

      COUNT CXXXVIII – Missouri Common Law Retaliation – Acting as a Witness
                                vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXXVIII of his Petition against Defendant, Paul

Rinck (hereafter referred to as “Rinck”), states:




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       1-348. For paragraphs       one (1) through        three hundred forty-eight        (348) of

Count CXXXVIII, Plaintiff realleges and incorporates paragraphs one (1) through three hundred

forty-eight (348) of the Petitioner’s Jurisdictional and Venue statements, description of the parties,

and common allegations of Facts, as though fully alleged herein.

       389.    Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.

       390.    Rinck has procured liability insurance that would provide coverage for this claim

brought against it.

       391.    As a result of Rinck’s retaliatory discharge of Blakeney, he is entitled to his past

and future lost earnings and benefits.

       392.    As a result of Rinck’s retaliatory discharge of Blakeney, he was caused to suffer

severe emotional distress which will continue into the future.

       393.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Rinck’s actions.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                          COUNT CXXXIX – Missouri Common Law
                                    vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXXXIX of his Petition against Defendant, Paul

Rinck (hereafter referred to as “Rinck”), states:

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       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXXXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       357.    Paul Rinck is the agent for Rinck and Rinck is responsible for his actions of

releasing Blakeney’s personnel records to the public.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                  COUNT CXL – Intentional Infliction of Emotional Distress
                                    vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXL of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”) states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXL,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       357.    Paul Rinck is the agent for Rinck and Rinck is responsible for his actions for the

infliction of emotional distress.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

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         COUNT CXLI – Violation of U.S. Constitution (§1983) – Right to Free Speech
                                     vs. Paul Rinck

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLI of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         421.   Blakeney also talked to the press about many of the aforementioned allegations.

         422.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         423.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

         424.   Rinck has no compelling interest that overrides the employee’s rights.

         425.   Rinck has procured liability insurance that would provide coverage for this claim.

         426.   As a result of Rinck’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

         427.   As a result of Rinck’s actions, he was caused to suffer severe emotional distress

which will continue into the future.




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       428.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Rinck’s actions.

       429.    Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                   COUNT CXLII – Violation of Federal Constitution (§1983) –
                            Right to Freedom of Association
                                      vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLII of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       421.    Blakeney also talked to the press about many of the aforementioned allegations.

       422.    Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.




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       423.    The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

       424.    Rinck has no compelling interest that overrides the employee’s rights.

       425.    Rinck has procured liability insurance that would provide coverage for this claim.

       426.    As a result of Rinck’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

       427.    As a result of Rinck’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.

       428.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Rinck’s actions.

       429.    Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

COUNT CXLIII – Violation of U.S. Constitution (§1983)- Right to Procedural Due Process
                                  vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLIII of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of




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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          453.    Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the Paul Rinck to provide process before disciplinary action can be taken against Blakeney

and/or before discharge of Blakeney if a property interest or liability interest exists. U.S. Const.

Amend. XIV.

          454.    Blakeney had an expectancy of continued employment.

          455.    A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

          456.    Blakeney was never provided notice for his discipline.

          457.    Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

          458.    Blakeney never had opportunity to rebut the reason for termination.

          459.    There existed a statute, ordinance and operations manual that required just cause

for discipline.

          460.    Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          461.    Blakeney was denied his constitutional right of due process by the Paul Rinck, as

provided to him by the United States Constitution, Fourteenth Amendment. U.S. Const., Amend.

XIV.

          462.    Rinck has procured liability insurance that would provide coverage for this claim.



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       463.    As a result of Rinck’s actions/inactions, Blakeney is entitled to his past and future

lost earnings and benefits.

       464.    As a result of Rinck’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.

       465.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Rinck’s actions.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

        COUNT CXLIV – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                             Right to Equal Protection
                                   vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLIV of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       397.    Blakeney was white and/or Caucasian.

       398.    Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-



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 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

       399.    Rinck has procured liability insurance that would provide coverage for this claim.

       400.    As a result of Rinck’s actions, Blakeney is entitled to his past and future lost

 earnings and benefits.

       401.    As a result of Rinck’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

       402.    Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Rinck’s actions.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                           COUNT CXLV Violation of 42 USC §1981
                                    vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLV of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       413.    Blakeney had an employment relationship and/or contract with Rinck.




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       414.    Blakeney was treated differently than others in the same or similar situation, and

Rinck discriminated against him in the enforcement and termination of his employment contract

in violation of 42 U.S.C. §1981.

       415.    The discriminatory treatment was intentional.

       416.    As a result of Rinck’s actions, Blakeney lost wages and benefits and will lose wages

and benefits in the future.

       417.    As a result of Rinck’s actions, Blakeney suffered from emotional distress.

       418.    As a result of Rinck’s actions, Blakeney sustained other incidental and

consequential damages.

       419.    As a result of Rinck’s actions, Blakeney is entitled to attorney’s fees and costs.

       420.    There is insurance coverage for this claim.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

                  COUNT CXLVI - Violation of Privacy Act 5 USC §552a(b)
                                   vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLVI of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

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       397.    Rinck violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

       398.    Rinck has provided insurance coverage that would provide coverage for this claim.

       399.    As a result of Rinck’s actions, Blakeney lost wages and benefits and will lose wages

and benefits in the future.

       400.    As a result of Rinck’s actions, Blakeney suffered from emotional distress.

       401.    As a result of Rinck’s actions, Blakeney sustained other incidental and

consequential damages.

       402.    As a result of Rinck’s actions, Blakeney is entitled to attorney’s fees and costs.

       WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Paul Rinck, in an amount in excess of $25,000.00 and award costs of suit.

 Plaintiff Demands Trial by Jury.

                              COUNT CXLVII – Abuse of Process
                                     vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLVII of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       373.    Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

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        374.   Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

        375.   The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Paul Rinck in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                          COUNT CXLVIII – Malicious Prosecution
                                   vs. Paul Rinck

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLVIII of his Petition against Defendant, Paul

Rinck (hereafter referred to as “Rinck”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        397.   There was a commencement of a judicial proceeding against Blakeney;

        398.   The defendant instigation the suit through his/her actions and inactions;

        399.   The proceeding will be terminated in plaintiff’s favor;

        400.   There was an absence of probable cause for the suit;

        401.   The defendant had malice in instituting the suit; and

        402.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.


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       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Paul Rinck in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
              COUNT CXLIX – Invasion of Privacy—Intrusion upon Selection
                                  vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CXLIX of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CXLIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       373.    There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

       374.    Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       375.    As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Paul Rinck in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
               COUNT CL – Invasion of Privacy—Publication of Private Facts
                                    vs. Paul Rinck




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       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CL of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CL,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       381.    The defendant published orally and in writing the information to third parties about

Blakeney,

       382.    Blakeney did not waive or consent to the publication,

       383.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       384.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Paul Rinck in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                           COUNT CLI – Whistle Blower Act (2017)
                                     vs. Paul Rinck

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLI of his Petition against Defendant, Paul Rinck

(hereafter referred to as “Rinck”), states:



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       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       373.    Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The Paul Rinck and its officials;

       374.    Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

       375.    Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the Paul Rinck in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                   COUNT CLII – Missouri Common Law Whistleblower
                                 vs. John Struckhoff

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLII of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of


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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

           349.   Blakeney’s report of criminal violations to third party government authorities and

his supervisors was a contributing factor in his retaliatory wrongful termination.

           350.   Struckhoff has procured liability insurance that would provide coverage for

retaliatory discharge claims brought against them.

           351.   As a result of Struckhoff’s retaliatory discharge of Blakeney, he is entitled to his

past and future lost earnings and benefits.

           352.   As a result of Struckhoff’s retaliatory discharge of Blakeney, he was caused to

suffer severe emotional distress which will continue into the future.

           353.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Struckhoff’s actions.

           WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against the defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs

of suit.

Plaintiff Demands Trial by Jury.

   COUNT CLIII – Missouri Common Law Retaliation - Violation of State Constitution
                              vs. John Struckhoff

           NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Michael Brunton and Brunton Law Offices, P.C., and for

Count CLIII of his Petition against Defendant, John Struckhoff (hereafter referred to as

“Struckhoff”), states:

           1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

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the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        394.   Blakeney was exercising his state constitutional right of free speech, due process,

freedom of association, and requested his liberty and property rights, as provided to him by the

State of Missouri, and as such, was performing acts that sound public policy would encourage, and

this was a contributing factor in his retaliatory wrongful termination.

        395.   Struckhoff has procured liability insurance that would provide coverage for the

allegations contained in Count II.

        396.   As a result of Struckhoff’s discharge of Blakeney, he is entitled to his past and

future lost earnings and benefits.

        397.   As a result of Struckhoff’s discharge of Blakeney, he was caused to suffer severe

emotional distress which will continue into the future.

        398.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Struckhoff’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

         COUNT CLIV – Missouri Common Law Retaliation – Acting as a Witness
                               vs. John Struckhoff

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLIV of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

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        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        394.   Blakeney’s actions were in accordance with public policy and he was performing a

civic duty by acting as a witness in a government investigation and this was a contributing factor

in his retaliatory wrongful termination.

        395.   Struckhoff has procured liability insurance that would provide coverage for this

claim brought against it.

        396.   As a result of Struckhoff’s retaliatory discharge of Blakeney, he is entitled to his

past and future lost earnings and benefits.

        397.   As a result of Struckhoff’s retaliatory discharge of Blakeney, he was caused to

suffer severe emotional distress which will continue into the future.

        398.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Struckhoff’s actions.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                            COUNT CLV – Missouri Common Law
                                   vs. John Struckhoff

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton




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of Brunton Law Offices, P.C., and for Count CLV of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        358.   John Struckhoff is the agent for Struckhoff and Struckhoff is responsible for his

actions of releasing Blakeney’s personnel records to the public.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                 COUNT CLVI – Intentional Infliction of Emotional Distress
                                 vs. John Struckhoff

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLVI of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”) states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        358.   John Struckhoff is the agent for Struckhoff and Struckhoff is responsible for his

actions for the infliction of emotional distress.

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         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, Struckhoff, in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury.

         COUNT CLVII – Violation of U.S. Constitution (§1983) – Right to Free Speech
                                   vs. John Struckhoff

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLVII of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         430.   Blakeney also talked to the press about many of the aforementioned allegations.

         431.   Blakeney was exercising his constitutional right of free speech as provided to him

by the First and Fourteenth Amendments of the United States Constitution by talking to the FBI

and/or talking to the press, and as such, this was a contributing factor in his retaliatory wrongful

termination. U.S. Const. Amend. I and XIV.

         432.   The violation of Blakeney’s Constitutional right of free speech violates 42 U.S.

§1983.

         433.   Struckhoff has no compelling interest that overrides the employee’s rights.

         434.   Struckhoff has procured liability insurance that would provide coverage for this

claim.




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        435.   As a result of Struckhoff’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

        436.   As a result of Struckhoff’s actions, he was caused to suffer severe emotional

distress which will continue into the future.

        437.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Struckhoff’s actions.

        438.   Blakeney was speaking as a private citizen on matters of public concern making his

reports to third parties, various individuals working for the press and the FBI.

        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                COUNT CLVIII – Violation of Federal Constitution (§1983) –
                          Right to Freedom of Association
                                 vs. John Struckhoff

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLVIII of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        430.   Blakeney also talked to the press about many of the aforementioned allegations.



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         431.   Blakeney was exercising his constitutional right of freedom of association as

provided to him by the United States Constitution by association with the FBI and/or the press,

and as such, was performing acts that sound public policy would encourage, and this was a

contributing factor in his retaliatory wrongful termination. U.S. Const. Amend. I and XIV.

         432.   The violation of Blakeney’s Constitutional right of freedom of association violates

42 U.S. §1983.

         433.   Struckhoff has no compelling interest that overrides the employee’s rights.

         434.   Struckhoff has procured liability insurance that would provide coverage for this

claim.

         435.   As a result of Struckhoff’s actions, Blakeney is entitled to his past and future lost

earnings and benefits.

         436.   As a result of Struckhoff’s actions, Blakeney was caused to suffer severe emotional

distress which will continue into the future.

         437.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Struckhoff’s actions.

         438.   Blakeney was acting as a private citizen in his association with third parties, the

press and the FBI.

         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

 COUNT CLIX – Violation of U.S. Constitution (§1983)- Right to Procedural Due Process
                                vs. John Struckhoff




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        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLIX of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        466.      Due Process protections of the Fourteenth Amendment to the U.S. Constitution

requires the John Struckhoff to provide process before disciplinary action can be taken against

Blakeney and/or before discharge of Blakeney if a property interest or liability interest exists. U.S.

Const. Amend. XIV.

        467.      Blakeney had an expectancy of continued employment.

        468.      A police officer, including Blakeney, has a property interest in employment

pursuant to §84.120, RSMo 2000.

        469.      Blakeney was never provided notice for his discipline.

        470.      Blakeney never had an adequate opportunity for a hearing prior to termination.

Blakeney was not allowed to see evidence, question witnesses, provide statements or any other

means to address issues at hearing.

        471.      Blakeney never had opportunity to rebut the reason for termination.

        472.      There existed a statute, ordinance and operations manual that required just cause

for discipline.




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          473.   Blakeney had a liberty interest and/or property interest in his continued

employment. It is also likely that Blakeney will be unable to continue in this profession in the

future.

          474.   Blakeney was denied his constitutional right of due process by the John Struckhoff,

as provided to him by the United States Constitution, Fourteenth Amendment. U.S. Const.,

Amend. XIV.

          475.   Struckhoff has procured liability insurance that would provide coverage for this

claim.

          476.   As a result of Struckhoff’s actions/inactions, Blakeney is entitled to his past and

future lost earnings and benefits.

          477.   As a result of Struckhoff’s actions/inactions, Blakeney was caused to suffer severe

emotional distress which will continue into the future.

          478.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

Struckhoff’s actions.

          WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

           COUNT CLX – Violation of U.S. Constitution (§1983) (Amendment XIV)-
                               Right to Equal Protection
                                  vs. John Struckhoff

          NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton




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of Brunton Law Offices, P.C., and for Count CLX of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

          1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          403.   Blakeney was white and/or Caucasian.

          404.   Blakeney was denied equal protection, which was his constitutional right as

 provided to him by the United States Constitution, Amendment XIV. Blakeney, and the other

 white and/or Caucasian officers were treated differently than other non-white and/or non-

 Caucasian officers in the same situation and the discriminatory treatment was based on an

 impermissible purpose or motive and it was intentional. U.S. Const. Amend. XIV.

          405.   Struckhoff has procured liability insurance that would provide coverage for this

 claim.

          406.   As a result of Struckhoff’s actions, Blakeney is entitled to his past and future lost

 earnings and benefits.

          407.   As a result of Struckhoff’s actions, Blakeney was caused to suffer severe emotional

 distress which will continue into the future.

          408.   Blakeney is also entitled to punitive damages, attorney fees and costs as a result of

 Struckhoff’s actions.

          WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.



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Plaintiff Demands Trial by Jury.

                           COUNT CLXI Violation of 42 USC §1981
                                  vs. John Struckhoff

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXI of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       421.    Blakeney had an employment relationship and/or contract with Struckhoff.

       422.    Blakeney was treated differently than others in the same or similar situation, and

Struckhoff discriminated against him in the enforcement and termination of his employment

contract in violation of 42 U.S.C. §1981.

       423.    The discriminatory treatment was intentional.

       424.    As a result of Struckhoff’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

       425.    As a result of Struckhoff’s actions, Blakeney suffered from emotional distress.

       426.    As a result of Struckhoff’s actions, Blakeney sustained other incidental and

consequential damages.

       427.    As a result of Struckhoff’s actions, Blakeney is entitled to attorney’s fees and costs.

       428.    There is insurance coverage for this claim.




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         WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.

Plaintiff Demands Trial by Jury.

                  COUNT CLXIII - Violation of Privacy Act 5 USC §552a(b)
                                  vs. John Struckhoff

         NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXIII of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

         1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

         403.   Struckhoff violated the Privacy Act of 1974, 5 U.S.C. §552 a(b) which restricts the

government’s ability to discuss information on individuals.

         404.   Struckhoff has provided insurance coverage that would provide coverage for this

claim.

         405.   As a result of Struckhoff’s actions, Blakeney lost wages and benefits and will lose

wages and benefits in the future.

         406.   As a result of Struckhoff’s actions, Blakeney suffered from emotional distress.

         407.   As a result of Struckhoff’s actions, Blakeney sustained other incidental and

consequential damages.

         408.   As a result of Struckhoff’s actions, Blakeney is entitled to attorney’s fees and costs.

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        WHEREFORE, Plaintiff, Steven Blakeney, requests that judgment be entered in his favor

and against defendant, John Struckhoff, in an amount in excess of $25,000.00 and award costs of

suit.

 Plaintiff Demands Trial by Jury.

                               COUNT CLXIV – Abuse of Process
                                    vs. John Struckhoff

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXIV of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXIV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        376.   Named Defendant made an illegal, improper, perverted use of process, a use neither

warranted or authorized by the process;

        377.   Named Defendant had an illegal purpose in exercising such illegal, perverted or

improper use of process; and

        378.   The process has been used to accomplish an unlawful end. The actions and

inactions resulted in Blakeney being incarcerated.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the John Struckhoff in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                            COUNT CLXV – Malicious Prosecution
                                   vs. John Struckhoff

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        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXV of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

        1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXV,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

        403.   There was a commencement of a judicial proceeding against Blakeney;

        404.   The defendant instigation the suit through his/her actions and inactions;

        405.   The proceeding will be terminated in plaintiff’s favor;

        406.   There was an absence of probable cause for the suit;

        407.   The defendant had malice in instituting the suit; and

        408.   Plaintiff sustained damage in emotional distress, loss of normal life, lost wages

and medical expenses as a result of the malicious prosecution.

        WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the John Struckhoff in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
               COUNT CLXVI – Invasion of Privacy—Intrusion upon Selection
                                vs. John Struckhoff

        NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXVI of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

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       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXVI,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       376.    There existed private and secret subject matter including Blakeney’s medical

records and personnel file;

       377.    Blakeney had the right to keep the aforementioned subject matter private and

secret from third-parties, and

       378.    As described within the facts, a third party gained access to the private and secret

subject matter through unreasonable means by Defendant’s conduct, without Blakeney’s consent.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the John Struckhoff in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
            COUNT CLXVII – Invasion of Privacy—Publication of Private Facts
                                vs. John Struckhoff

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXVII of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXVII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.




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       385.    The defendant published orally and in writing the information to third parties about

Blakeney,

       386.    Blakeney did not waive or consent to the publication,

       387.    The information published was a private matter concerning only Blakeney which

third-parties had no legitimate concern, and

       388.    The aforementioned publication was designed to embarrass Blakeney.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the John Struckhoff in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury

                        COUNT CLXVIII – Whistle Blower Act (2017)
                                 vs. John Struckhoff

       NOW COMES Plaintiff, Steve Blakeney (hereafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXVIII of his Petition against Defendant, John

Struckhoff (hereafter referred to as “Struckhoff”), states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXVIII,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       376.    Blakeney reported to the above-referenced proper authorities unlawful acts of his

employer, The John Struckhoff and its officials;

       377.    Reports of Blakeney’s employer’s officials’ serious misconduct violated a clear

mandate of public policy as articulated in a constitutional provision, statute, or regulation

promulgated under statute”;

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       378.      Blakeney is entitled to an award successful claimants back pay and reimbursement

of directly-related medical bills. The Defendant’s conduct was outrageous because of evil motive

or reckless indifference to the rights of others. Blakeney is also entitled to recover reasonable

attorney fees and costs.

       WHEREFORE, Plaintiff, Steve Blakeney, requests that judgment be entered in his favor

and against the John Struckhoff in an amount in excess of $25,000.00 and award costs of suit.

Plaintiff Demands Trial by Jury
                            COUNT CLXIX –Civil Conspiracy
 Steven Blakeney v. Sylvester Caldwell, Donnell Smith, Anthony Gray, Brian Krueger and
                                        MOPERM

       NOW COMES Plaintiff, Steve Blakeney (hereinafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXIX of his Petition against Defendants, Sylvester

Caldwell, Donnell Smith, Anthony Gray, Brian Krueger and MOPERM states:

       1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXIX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

       349.      Defendants Caldwell, Smith, Gray, Krueger and MOPERM had several “secret”

meetings in violation of the Sunshine Act (as previously set forth).

       350.      The Defendants at these meetings discussed and came to a meeting of the minds to

commence a course of action which would result in Plaintiff’s eventual prosecution and

incarceration.

       351.      The Defendants course of action and objective was unlawful in that it the course of

action constituted both and Abuse of Process and Malicious prosecution.

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        352.   MOPERM was acting intentionally, through its agents, including Mark Zoole, in

furtherance of a conspiracy against Blakeney.

        353.   Abuse of Process is a tort recognized by the State of Missouri, and is unlawful in

that:

               A) Defendants made an illegal, improper and perverted use of process in which was

        neither warranted or authorized by the process. To Wit, Defendants illegally terminated

        Plaintiff’s employment and then initiated a prosecution they knew to be false,

               B) The Defendants’ purpose in their improper and perverted use of process was

        illegal and was designed to accomplish the unlawful ends. Specifically, they acted to

        unlawfully terminate Plaintiff’s employment and to have Plaintiff prosecuted based on

        alleged facts they knew to be false as alleged in the facts above. The parties, including

        MOPERM conspired to provide Plaintiff with an attorney with an obvious conflict of

        interest who eventually settled a civil case against Plaintiff without Plaintiff’s knowledge

        of approval. These unauthorized settlements were used against Plaintiff in the sentencing

        phase of his false prosecution and wrongful conviction as evidence in aggravation.

        MOPERM and the other defendants acted knowing what they were doing was false,

        malicious, and unlawful.

               C) The process, as employed by Defendants, accomplished an illegal end, namely

        Plaintiff’s employment was terminated and Plaintiff was falsely accused crimes,

        wrongfully convicted, and illegally incarcerated as alleged in the facts above.

        353.   The Defendants are jointly and severally liable for their participation in this

conspiracy.

        354.   The Defendant’s conduct was intentional and malicious.



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          355.   Plaintiff was unlawfully incarcerated, sustained emotional distress, was subject to

beatings, strangulation, and solitary confinement, sustained emotional distress, loss of normal life,

lost wages, and medical expenses.

          WHEREFORE, Plaintiff, Steve Blakeney, requests judgment be entered in his favor and

against Sylvester Caldwell, individually, Donnell Smith, individually, Anthony Gray, individually,

Brian Krueger, individually and MOPERM in an amount not less than $10,000,000.00.

Plaintiff Demands Trial by Jury
                COUNT CLXX –Civil Conspiracy—Malicious Prosecution
 Steven Blakeney v. City of Pine Lawn, Sylvester Caldwell, Brian Krueger, Donnell Smith,
   Willie Epps, Clarence Harmon, Lashawn Colquitt, Anthony Gray, Paul Rinck, John
                  Struckhoff, MOPERM, and Smith & Associates, LLC

          NOW COMES Plaintiff, Steve Blakeney (hereinafter referred to as “Blakeney”), by and

through his undersigned attorneys, Keith Short of Short and Daugherty, P.C. and Michael Brunton

of Brunton Law Offices, P.C., and for Count CLXX of his Petition against Defendants, City of

Pine Lawn, Sylvester Caldwell, Brian Krueger, Donnell Smith, Clarence Harmon, Lashawn

Colquitt, Anthony Gray, Paul Rinck, John Struckhoff, MOPERM, and Smith & Associates, LLC,

states:

          1-348. For paragraphs one (1) through three hundred forty-eight (348) of Count CLXX,

Plaintiff realleges and incorporates paragraphs one (1) through three hundred forty-eight (348) of

the Petitioner’s Jurisdictional and Venue statements, description of the parties, and common

allegations of Facts, as though fully alleged herein.

          349.   Defendants Caldwell, Smith, Gray, Krueger and MOPERM had several “secret”

meetings in violation of the Sunshine Act (as previously set forth).




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        350.      The Defendants at these meetings discussed and came to a meeting of the minds to

 commence a course of action which would result in Plaintiff’s eventual prosecution and

 incarceration.

        351.      The Defendants course of action and objective was unlawful in that it the course of

 action constituted both and Abuse of Process and Malicious prosecution.

        352.      Malicious Prosecution is a tort recognized by the State of Missouri, and is unlawful

 in that:

                  A) A judicial proceeding was commenced against Plaintiff, namely Plaintiff was

        subject to a criminal prosecution.

                  B) The Defendants, in their meetings convened, hatched a scheme to level false

        charges against Plaintiff and have him falsely accused, wrongfully convicted and

        incarcerated. Additionally, multiple civil actions, as described in the facts above, were

        commenced against Plaintiff and eventually settled without Plaintiff’s knowledge or

        approval.

                  C) Plaintiff was wrongfully convicted and also had civil suits against him settled

        in Plaintiffs’ favor without Plaintiff Blakeney’s knowledge of consent

                  D) There was no probable cause for the suit. As described in the facts above,

        Anthony Gray has provided sworn testimony that it was Gray, not Plaintiff, that had

        ultimate authority to have Nakisha Ford arrested (as alleged in the facts above). It was the

        arrest of Nakisha Ford which led eventually, to Plaintiff’s eventual wrongful prosecution,

        conviction and incarceration.




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               E) The Defendants acted with malice when they knowingly contrived and

       promulgated a false narrative regarding whose decision it was to have Nakisha Ford

       arrested.

       353.    The Defendants are jointly and severally liable for their participation in this

conspiracy.

       354.    Plaintiff was unlawfully incarcerated, sustained emotional distress, was subject to

beatings, strangulation, and solitary confinement, sustained emotional distress, loss of normal life,

lost wages, and medical expenses

       WHEREFORE, Plaintiff, Steve Blakeney, requests judgment be entered in his favor and

against City of Pine Lawn, Sylvester Caldwell, individually, Brian Krueger, individually, Donnell

Smith, individually, Clarence Harmon, individually, Lashawn Colquitt, individually, Anthony

Gray, individually, Paul Rinck, individually, John Struckhoff, individually, MOPERM, and Smith

& Associates, LLC in an amount not less than $10,000,000.00.

Plaintiff Demands Trial by Jury
                                                      Short and Daugherty, P.C.



                                                           /s/ Darren K. Short
                                                      Darren K. Short, #44021
                                                      Jack Daugherty
                                                      325 Market Street
                                                      Alton, IL 62002
                                                      618-254-0055 (ph)
                                                      618-254-1272 (fax)
                                                      keith@siltrial.com
                                                      jack@siltrial.com

                                                and




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                                           BRUNTON LAW OFFICE, P.C.

                                                /s/ Michael J. Brunton
                                           Michael J. Brunton, #42877
                                           Brunton Law Office
                                           819 Vandalia (HWY 159)
                                           Collinsville, IL 62234
                                           Attorney for Plaintiff




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